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IN THE UNITED STATES DIS'I`RICT COURT

FOR THE NORTHERN D[STRICT OF OKLAHOMA

SF_P 0'1 2016
CMCCa'rtt 019\'1<

Na§kc D\STR\CT COURT

 

 

THE UNITED STATES OF AMERICA,
and 'I`HE STATES OF OKLAHOMA,
AND TENNESSEE, ex rel. [UNDER
SEALL

Plaintiffs,
v.

[UNI)ER sEAL]

Defendants.

 

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No. 14CV»567-CVE-PJC

FILEI) IN CAMERA AND
UNDER SEAL

JURY TRIAL DEMAND

 

 

PLAINTIFFS’ FIRST AMENDED CON[PLAINT
PURSUANT TO FEDERAL AND STATE FALSE CLAIMS ACTS

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

 

THE UNITED STATES OF AMERICA,
and THE STATES OF OKLAHOMA,
AND TENNESSEE, ex rel. CHRIS
PHILLIPS,

Plaintiffs,

V.

1. STEPHEN L. LAFRANCE
HOLDINGS, INC.,

2. SUPER D DRUGS ACQUISITION
CO.,

3. STEPHEN L. LAFRANCE
PHARMACY, INC.,

4. ARCADIA VALLEY DRUG CO.,
5. CONSOLIDATED STORES, INC.,
DALECO, INC.,

6. PHARM-MART PHARMACY OF
WARREN, INC.,

7. RICH MOUNTAIN
PHARMACEUTICAL SERVICES, INC.,
8. S & W PHARMACY, INC.,

9. USA DRUG & BEAUTY MARKET
FRANCHISING SYSTEM, INC.,

10. MAY’S DRUG STORES, INC.,
11. MED-X CORPORATION, AND
12. WALGREEN CO.,

No. 14CV-567CVE-PJC

FILED IN CAMERA AND
UNDER SEAL

JURY TRIAL DEMAND

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Defendants.

 

 

 

 

 

LAINTIFFS’ FIRsT AMENDED coMPL_AINT
PURSIJANT To FEDERAL AND sTATE FALSE cLAIMs ACTS

Chris Phillips (“Relator”) files this First Amended Complaint on behalf of the United
States of America ("USA") and the States of Oklahoma and Tennessee (collectively referenced
as “States” or “Plaintiff States”) against Stephen L. LaFrance Holdings, Inc., Super D Drugs

Acquisition Co., Stephen L. LaFrance Pharmacy, Inc., Arcadia Valley Drug Co., Consolidated

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Stores, Inc., Daleco, Inc., Pharm-Mart Pharmacy of Warren, Inc., Rich Mountain Pharmaceutical
Services, Inc., S & W Pharmacy, Inc., USA Drug & Beauty Market Franchising System, Inc.,
May’s Drug Stores, Inc., Med-X Corporation, and Walgreen Co. (collectively, “Defendants”),
and alleges the following:

I.
INTRODUCTION

1. Relator brings this action pursuant to the Federal False Claims Act ("FCA"), 31 USC
§3729 et seq., and the analogous Plaintiff State false claims and health care fraud remedial statutes
("Plaintiff State false claim statutes"). The pertinent Plaintiff State false claim statutes are as
follows:

a. Oklahoma: 63 O.S. 5053 et seq., Oklahoma Medicaid False Claims Act.

b. Tennessee: 4-18-101 et seq., Tennessee False Claims Act;
71-5-181 et seq., Tennessee Medicaid False Claims Act

2. Each of the Federal and State false claims statutes referenced in the foregoing paragraph
authorize private persons to bring a civil action for the person and the applicable governmental
entity against a person who commits one or more acts in violation of the particular false claims
statute. Remedies include the recovery of a civil penalty for each false claim violation (not less
than $5,500 and not more than $11,000 under the FCA) and multiple damages based on a single
damages multiplier (e.g., treble damages under the FCA). As an award, the Relator is entitled to
receive a percentage of the proceeds of the action or settlement of the claim(s) (Under the FCA,
generally 15% to 25% if the USA exercises its election to intervene and assume control of the
action and 25% to 30% if the USA does not intervene and the Relator proceeds With the action).
In the event of a recovery, the Relator is also entitled to receive an award against the Defendant(s)

for reasonable expenses, plus attorneys' fees and costs.

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3. Defendants' unlawful acts in violation of the FCA and State false claims statutes, as alleged
below, concern their submission of false claims to Federal and State health care programs for
prescription drugs fumished to program beneficiaries, and their use of materially false records and
statements in support of those false claims. More specifically, Defendants have knowingly
submitted fraudulent, inflated pricing information to government health care programs on tens of
thousands of prescription drug claims, for the purpose of unlawfully obtaining reimbursement
payments higher than those authorized by law.

4. In addition to USA non-Medicaid and USA and State Plaintiff Oklahoma and Tennessee
Medicaid claims, Relator's claims on behalf of the USA include claims for the federal share of
damages concerning FCA violations relating to Medicaid programs in each State where
Defendants have operations and i) the State has an analogous act or statute which does not
authorize qui tam actions by private persons, but has provisions under which an award may
potentially be recovered, ii) the State has an analogous act or statute which does not authorize qui
tam actions and under which there is no potential award provision, iii) the State does not have an
analogous act or statute, and iv) the State, e.g., New Jersey, has an analogous act or statute, but
Defendants do not have a material presence in the State, Because each State Medicaid program is
jointly iimded by the USA and a particular State, each FCA false claim violation by Defendants
against a State Medicaid program is a false claim against the USA for the federal share of the false
claim amount. The following is a list of the States, in addition to the USA and Plaintiff State
Oklahoma and Tennessee Medicaid claims, for which Relator seeks to recover the federal share of
Medicaid false claim recoveries, along with an award from any proceeds and statutory expenses

costs, and attorneys' fees against Defendants:

Analogous act or statute that does not allow guz' tam action, but provides for potential award

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a. Arkansas: A.C.A. 20-77-901 et seq., Arkansas Medicaid Fraud False Claims Act.
b. M@g;i: 191.900 et seq., Missouri Health Care Payment Fraud and Abuse Act.
Analogous act or statute that does not allow qui tam action or award

c. KM: K.S.A. 21-3844 et seq., Kansas Medicaid Fraud Control Act.

d. Mississippi: 43~13~201 et seq., Mississippi Medicaid Fraud Control Act.
Ml_ogous act or statute, but no current. material presence of Defendants in State

e. New Jersey: N.J.R.S. 2A:32C-1 et seq., New Jersey False Claims Act.

II.
PARTIES

A. Defendants

5. Defendant, Stephen L. LaFrance Holdings, Inc., and various affiliated companies more
fully identified below own a chain of approximately 144 drugstores and pharmacies located in
Arkansas, Kansas, Mississippi, Missouri, New Jersey, Oklahoma, and Tennessee. In or about
September 2012 Stephen LaFrance Holdings, lnc. and certain of its affiliates were purchased by
Walgreen Co. Defendants operate under the names USA Drug, Super D Drug, May’s Drug, Med-
X, Drug Warehouse, Walgreens, and various other names, including those identified below.

6. Defendant Stephen L. LaFrance Holdings, Inc. is a Delaware corporation that may be
served through its registered agent, Corporation Service Company, 2711 Centerville Rd., Suite
400, Wilmington DE 19808 (phone: 302 636 5401).

7. Defendant Super D Drugs Acquisition Co. is a Delaware corporation with its principal
place of business at 3017 N. Midland Dr., Pine Bluff AR 71603-4828. It may be served through
its registered agent, Corporation Service Company, 115 SW 89th St, Oklahoma City, OK 73139-
8511. Super D Drugs Acquisition Co. does business under numerous fictitious names, including

but not limited to, the following: Oak Park Drugs, Osceola Pharmacy, South Park Pharmacy, Star

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Pharmacy, Super D Drugs, Super D Express RX, Super RX, USA Drug, USA Drug Express,
Waldron Drug #15797 Powered by Walgreens, Walgreens #15702, Walgreens #15703, Walgreens
#157147, Walgreens #15788, Walgreens #15789, Walgreens #15790, Walgreens #15791,
Walgreens #15792, Walgreens #15793, Walgreens #15794, Walgreens #15797, Walgreens
#15819, and Walgreens # 15852.

8. Defendant Stephen L. LaFrance Pharmacy, Inc. is an Arkansas corporation that may be
served through its registered agent, Corporation Service Company, 115 SW 89th St, Oklahoma
City, OK 73139-8511. Stephen L. LaFrance Pharmacy, Inc. does business under the following
fictitious names: Altemative Care, Family Drugs, USA Drug, USA Drug Express, USA Drug
Express #15819, Walgreens #15361, Walgreens #15819, and Walgreens #15830.

9. Defendant Arcadia Valley Drug Co. is an Arkansas corporation with its principal place of
business at l Allied Dr., Ste. 1720, Little Rock, AR 72202-2013.

10. Consolidated Stores, Inc. is an Arkansas corporation that may be served through its
registered agent, Corporation Service Company, 300 S. Spring St., Ste. 900300, Little Rock, AR
72201-2444. Consolidated Stores, lnc. does business under the following fictitious names: USA
Drug and Walgreens #15721.

11. Daleco, Inc. is an Arkansas corporation that may be served through its registered agent,
Walter M. Ebel, 2000 W. Regions Center, 400 Capitol Ave., Little Rock, AR 72201.

12. Pharm-Mart Pharmacy of Warren, Inc. is an Arkansas corporation that may be served
through its registered agent, Corporation Service Company, 300 S. Spring St., Ste. 900300, Little
Rock, AR 72201-2444. Pharrn-Mart Pharmacy of Warren, Inc. does business under the following

fictitious names: USA Drug and Walgreens #15817.

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13. Rich Mountain Pharmaceutical Services, Inc. is an Arkansas corporation that may be
served through its registered agent, Corporation Service Company, 300 S. Spring St., Ste. 9003 00,
Little Rock, AR 72201-2444. R.ich Mountain Pharmaceutical Services, Inc. does business under
the following fictitious name: Med-Ark Pharmacy,

14. S & W Pharmacy, Inc. is an Arkansas corporation that may be served through its registered
agent, Corporation Service Company, 300 S. Spring St., Ste. 900300, Little Rock, AR 72201-2444.
S & W Pharmacy, Inc. does business under the following fictitious name: USA Drug.

15. USA Drug & Beauty Market Franchising System, Inc. is an Arkansas Corporation that
does business under the following fictitious names: Rx Express Pharmacy and USA Drug.

16. May’s Drug Stores, Inc. is an Oklahoma corporation that may be served through its
registered agent, Corporation Service Company, 115 SW 89‘h St, Oklahoma City, OK 73139-8511.
May’s Drug Stores, Inc. does business under the following trade names: Mor~Val Healthcare, The
Drug Warehouse, Walgreens #15751, Walgreens #15756, Walgreens #15762, Walgreens #15763,
Walgreens #15764, Walgreens #15770, Walgreens #15772, Walgreens #15773, Walgreens
#15778, Walgreens #15780, Walgreens #15810, Walgreens #15811, Walgreens #15812, and
Walgreens #15808. n

17. Med-X Corporation is an Oklahoma corporation that may be served through its registered
agent, Corporation Service Company, 115 SW 89th St, Oklahoma City, OK 73139-8511. Med-X
Corporation does business under the following trade names: Drug Mart, Moore Rexall Drug,
Walgreens #15776, Walgreens #15777, Walgreens #15782, and Walgreens #15809.

18. Walgreen Co. is an Illinois corporation that may be served through its registered agent, The
Prentice-Hall Corporation System, Oklahoma, Inc., 115 SW 89th St, Oklahoma City, OK 73139-

8511.

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B. Relator

19. Relator Chris Phillips is a citizen of the United States and a resident of the State of
Oklahoma. Relator holds a Doctor of Pharmacy degree from the University of Oklahoma and is a
licensed pharmacist in the State of Oklahoma, Currently, Relator owns and operates Express Drug
LLC d/b/a Chris’ Express Drug in Oklahoma City, OK.

20. ln August 1998, Relator began working as a pharmacy technician at Moore Rexall Drug,
Inc., located at 621 N. Broadway in Moore, OK. He advanced to pharmacy intern in August 1999
When he entered pharmacy school, and graduated to pharmacist when he obtained his pharmacist
license in 2003.

21. In November, 2009, the Moore Rexall Drug Inc. pharmacy was acquired by USA Drug
affiliate Med-X Corporation, and Relator was retained and designated as the Pharmacist in Charge.
For a time after the acquisition the pharmacy continued to do business as Moore Rexall Drug Inc.,
although within the USA Drug and Med-X family of pharmacies it was referred to as Med-X Drug
#6142. In October, 201 l, the physical location of the pharmacy was moved down the block to 601
N. Broadway, and the store was officially renamed “Med-X.”

22, In or about September, 2012, Walgreen Co. acquired the USA Drug family of phannacies,
including Med-X Corporation and various affiliates of Med-X Corporation named as defendants
in this complaint After the acquisition Relator continued as the Pharmacist-in-Charge (P-I-C) at
the Med-X #6142 location until it was officially closed in or about October 22, 2012 as part of the
Walgreen Co. post-acquisition reorganization and transition of the USA Drug and affiliated
pharmacies. All files from that location were merged with and moved to Walgreens #5738, 1229
N. Eastern, Moore, OK. Relator‘s termination date was November 11, 2012. The time gap

between the store closure and Relator's termination was due to a notice of termination requirement

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III.
JURISDICTION AND VENUE

23. This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C. §§
1331 and 1345 and 31 U.S.C. § 3730 (b). This court has personal jurisdiction over the Defendant
pursuant to 31 U.S.C. § 3732(a). This court also has supplemental jurisdiction over the state law
claims under 31 U.S.C. § 3732(b) and 28 U.S.C. § 1367.

24. Venue in this Judicial District is appropriate under 31 U.S.C. § 3732(a) because one or more
of the Defendants transact business in this Judicial Distn'ct.

25. Relator believes there has been no public disclosure of the allegations and transactions on
which this action is based; but should the question arise, and should the court determine otherwise,
the Relator is an original source of the information on which the allegations in this complaint are
based, as defined in FCA §3730(e)(4)(B). As a member of the pharmacy profession and former Med-
X Corporation pharmacist before and after Walgreen Co.'s acquisition of the USA DRug family of
stores, Relator has knowledge and information which is not publicly available.

IV.
GENERAL BACKGROUND INFORMATION CONCERNING
GOVERNMENT-FUNDED PRESCRIPTION DRUG BENEFITS

26. Federal and State government health care programs (“GH]’” in the singular form and
“GHPs” in the plural form), including Medicare, Medicaid, Tricare (including "CHAMPUS," the
Civilian Health and Medical Program of the Uniformed Services), and The Federal Employees Health

Benefits Program, among others, offer pharmaceutical benefits to their respective beneficiaries

A. Overview of GHP prescription drug reimbursement methodologies

27. By law, GHPs that reimburse providers such as Defendants for prescriptions dispensed to

program beneficiaries generally pay an amount for each covered drug that is limited to the lesser

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a. the pharmacy provider’s usual and customary (“U&C”) price; or

b. one or more alternative price types (“APT” in the singular, and “APTS” in the
plural, form).

28. GHPs generally define the U&C price, in substance, as the price that a pharmacy charges
arcustomer who does not have, or elects not to use, any form of prescription drug insurance
coverage. Customers who do not have or use insurance coverage to purchase prescription drugs
are commonly referred to as “cash customers,” and the related drug sales and purchases are
commonly known as “cash transactions.”

29. Pharmacy providers have a legal duty as a condition of payment, when submitting claims
for prescription drugs to GHPs with reimbursement regulations which limit payment to the lesser
of U&C price and alternative APTs and define U&C price in terms of cash prices or include cash
prices in its determination, to either i) report the pharmacy’s prices to cash customers as its U&C
prices, or ii) determine and report the pharmacy’s U&C prices based on the particular GHP’s U&C
price definition

30. Examples of APTS included in GHP reimbursement methodologies which are used as the
basis for reimbursement when an APT is lower than the pharmacy reported U&C price are as
follows:

a. Negotiated Price, plus Dispensing Fee. With respect to the Medicare Part D program,
Negotiated prices are the costs for prescription drugs agreed upon through direct
negotiation between the Part D plan sponsor, or an intermediary organization such as a
pharmacy benefit manager (a third party administrator that processes and pay claims for
drug plans), and the drug manufacturer;

b. Contracted price, plus Dispensing Fee. Contracted prices are the costs for prescription
drugs agreed upon through direct negotiation between a GHP or its contractor, e.g., an

intermediary organization such as a pharmacy benefit manager (third party administrators
that process and pay claims for drug plans), and the pharmacy provider;

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c. Estimated Acquisition Cost (“EAC”), plus Dispensing Fee. EAC is a State Medicaid
agency’s estimate of the price generally and currently paid by providers, e.g.,
pharmacies, calculated according to the agency’s established rules and regulations;

d. Federal Upper Limit (“FUL”), plus Dispensing Fee. Federal Medicaid regulations
establish an upper limit on the amount State Medicaid programs may pay for certain
multiple source drugs, that is, brand drugs with available generic drugs; or

e. Maximurn Allowable Cost (“MAC”), plus Dispensing Fee. State Medicaid
agencies and other GHPs also have had and have the discretion to establish State
upper limit APTs.

31. As indicated, APTs consist of two components. The first component, the negotiated price,
contracted price, EAC, FUL, or MAC, is intended to reimburse the ingredient cost of a drug. The
second component, the dispensing fee, is intended to reimburse the pharmacy for pharmacy
operation costs, including, but not limited to, costs associated with a pharrnacist’s time in checking
the computer for information about an individual’s coverage, performing drug utilization review
and preferred drug list review activities, measuring or mixing the covered outpatient drug, filling
the container, counseling the beneficiary, physically providing the completed prescription to the
beneficiary, delivery, special packaging, and overhead associated with maintaining the facility and
equipment necessary to operate the phannacy.

32. With respect to GHPs with reimbursement methodologies that provide for the payment of
the lesser of U&C price or an APT, the GHP compares the U&C price With no dispensing fee

charge against the APTS, each APT consisting of both the ingredient cost, plus a dispensing fee.

B. Specific GHP prescription drug methodologies illustrating the established, well-known
understanding and application of U&C price

1. Medicaid

33. Medicaid is a joint and voluntary program between the federal government and the states,
whereby lower-income, disabled and elderly individuals are offered basic healthcare coverage,

including prescription drug benefits.

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34. The Federal government pays a share of the medical assistance expenditures under each
state's Medicaid program

35. Since at least 1976, the Medicaid rules have divided reimbursable drugs into two
categories: i) multiple source drugs subject to a FUL, and ii) other drugs. Multiple source drugs
have been subjected to a FUL when there are multiple equivalent drugs and suppliers. “Other
drugs” include single-source drugs, certified brand drugs (i.e., physician certification brand is
medically necessary for particular recipient), and drugs other than multiple source drugs for which
a FUL has been established.

36. During the same time period, Medicaid rules have provided that State agency payments for
other drugs must not exceed in the aggregate, payment levels the agency has determined by
applying the lower of the following costs and charges:

a. EAC plus a reasonable fee established by the agency; or

b. The provider’s usual and customary charges to the general public.

37. The FUL is just that, an upper limit, and the State agency will pay the EAC plus a
dispensing fee or the U&C price of a multi-source drug, if it is lower than the FUL,

38. Accordingly, the Medicaid reimbursement methodology for all covered drugs can be
summarized to provide for the payment of the lesser of the following costs, charges, or limits:

a. The provider's usual and customary charge to the general public;

b. EAC plus a reasonable dispensing fee established by the State agency;

c. State MAC, if any, plus a reasonable dispensing fee; or

d. FUL, if any, plus a reasonable dispensing fee.

39. Several Medicaid programs define U&C prices as the pharmacy’s prices to cash customers,

while others define U&C price based on the pharmacy’s prices to both cash and privately insured

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customers In either case, pharmacy providers have a legal duty as a condition of payment to
accurately determine and report their true U&C prices when submitting claims to GHPS.

2. Medicare Part D voluntary prescription drug benefit program

40. The voluntary prescription drug benefit program for Medicare enrollees is known as
Medicare Part D (“Part D”). Part D was enacted into law on December 8, 2003 and became
available to beneficiaries beginning on January l, 2006.

41. Coverage for the Part D drug benefit is provided under private prescription drug plans
(“PDP” in the singular, and “PDPS” in the plural, form). Medicare contracts With private entities,
known as Part D Plan "sponsors," to administer prescription drug plans.

42. CMS regulations require that PDP providers such as Defendants offer Medicare
beneficiaries their PDP sponsor’s Negotiated Prices. Negotiated Prices are prices for covered Part
D drugs that_ (1) The Part D sponsor (or other intermediary contracting organization) and the
network dispensing pharmacy or other network dispensing provider have negotiated as the amount
such network entity will receive, in total, for a particular drug; (2) Are reduced by those discounts,
direct or indirect subsidies, rebates, other price concessions, and direct or indirect remuneration
that the Part D sponsor has elected to pass through to Part D enrollees at the point of sale; and (3)
Includes any dispensing fees. 42 CFR § 423.100. Failure to offer Negotiated Prices occurs when
a pharmacy charges a beneficiary the wrong arnount, such as failing to offer Medicare beneficiaries
available discounts or price concessions at the point of sale.

43. When a pharmacy - such as one of Defendants’ pharmacies - dispense drugs to a Medicare
beneficiary, the pharmacy submits an electronic claim to the beneficiary's PDP sponsor or PBM
and receives reimbursement from the PDP for the costs that are not paid by the beneficiary (co-

payment). The PDP sponsor then notifies the CMS that a drug has been purchased and dispensed

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through a document called a Prescription Drug Event ("PDE") record, which includes data
elements about the drug dispensed, the prescription, and the payment to the phannacy. Payments
to the PDP sponsor are conditioned on the provision of information to CMS that is necessary for
CMS to administer the Part D program as set forth in 42 C.F.R. § 423.322. Essentially, each PDE
submitted to CMS is a summary record documenting the final adjudication of a dispensing event
based upon claims received from pharmacies and the data in PDEs are data related to the payment
of claims.

44. Throughout the year, CMS makes prospective payments to PDP sponsors for three
subsidies based on the sponsors' approved bids: (1) the direct subsidy designed to cover the
sponsor's costs of providing the benefits; (2) the low-income cost-sharing subsidy; and the
reinsurance subsidy. PDP sponsors who fail to submit required claims-level information contained
in the PDE to CMS risk having to return monthly payments to CMS during reconciliation See 42
C.F.R. § 423.343(b), (c)(2) and (d)(2). After the close of the plan year, CMS is responsible for
reconciling the prospective payments to the PDP sponsor's actual allowable costs to calculate final
payments and risk sharing amounts. CMS determines the actual allowable costs by relying upon
data elements submitted by PDP sponsors in their PDE records.

45. Defendants, as subcontractor providers for PDP sponsors, are required to comply with all
applicable federal laws, regulations and CMS instructions which includes the obligation to offer
Medicare beneficiaries Negotiated Prices. 42 C.F.R. § 423.505(i)(4)(vi). Moreover, a PDP
sponsor is obligated by federal regulation to certify the accuracy, completeness and truthfulness of
all data related to the payment:

(1) General Rule. As a condition for receiving a monthly payment the Part D plan sponsor

agrees that its chief executive officer (CEO), chief financial officer (CFO), or an individual

delegated the authority to sign on behalf of one of these officers, and who reports directly to
the officer, must request payment under the contract on a document that certifies (based on

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best knowledge, information and belief) the accuracy, completeness, and truthj¢lness of all
data related to payment The data may include specified enrollment information, claims data,
bid submission data, and other data that CMS specifies. (Emphasis added).

(3) Part D Sponsor Certification of Claims Data: The CEO, CFO, or an individual delegated

with the authority to sign on behalf of one of these officers, and who reports directly to the

officer, must certify (Based on best knowledge, information and belief) that the claims data it
submits under § 423.329(b)(3) (or for fallback entities, under § 423.87l(f)) are accurate,
complete and truthful and acknowledge that the claims data will be used for the purpose of
obtaining F ederal reimbursement

42 C.F.R. § 423.505(k)(1) & (3).

46. The "Certification of data that determines payments" provision of the applicable
regulation further provides:

"[i]f the claims data are generated by a related entity, contractor, or subcontractor of a Part D

plan sponsor, the entity, contractor, or subcontractor must similarly certify (based on best

knowledge, information, and belief) the accuracy, completeness, and truthfulness of the data
and acknowledge that the claims data will be used for the purposes of obtaining Federal
reimbursemen ."

42 C.F.R. § 423.505(k)(3).

47. By failing to offer Medicare beneficiaries available point of sale discounts and price
concessions, Defendants submitted false requests for payment to PDP sponsors at inflated
Negotiated Prices. Accordingly, Defendants knowingly caused the PDP sponsors to submit false
and fraudulent claims for payment to CMS. That the PDP sponsors filed the claims with CMS is
irrelevant because liability attaches to any person who "causes to be presented" a false or
fraudulent claim. The Defendants’ knowingly "caused the claim" to be presented by the PDP

sponsors who then sought payment from the government

3. FEHBP

48. The Federal Employees Health Benefits Program (“FEHBP”) offers comprehensive group

health insurance to federal employees, retirees and their eligible family members through a wide

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variety of qualified carriers and plans approved by the U.S. Office of Personnel Management
(€6OPM”).

49. Since at least 2006, FEHBP plans have been PBM Caremark’s largest customers ('Ihe
reference to “Caremark” includes its successor “CVS/Caremark”). The majority of FEHBP claims
are processed by Caremark.

5 0. Pursuant to the Caremark 2007 and 2009 manuals, FEHBP prescription drugs processed have
been reimbursed at the lower of:

a. Price Type plus an applicable percentage of the Price Type, or minus the applicable

percentage of the Price Type, plus the applicable Dispensing Fee less the applicable Patient
Pay Amount (or if applicable Price Type is unavailable for a given drug, Caremark Will pay
Provider based upon AWP [Average Wholesale Price] minus the applicable AW`P Discount
plus the applicable Dispensing Fee minus the applicable Patient Pay Amount);

b. MAC plus the applicable Dispensing Fee less the applicable Patient Pay Amount;

c. lngredient cost submitted by Provider plus the applicable Dispensing Fee less the applicable
Patient Pay Amount; or

d. Provider’s U&C price less the applicable Patient Pay Amount.

51. The 2007 and 2009 manuals define “Usual and Customary Price or U&C” as “the lowest price
Provider would charge a particular customer if such customer were paying Lr for an identical
prescription on that particular day at that particular location. 'I'his price must include any applicable
discounts offered to attract customers.” (emphasis added).

4. TRICARE and CHAMPUS
52. TRICARE and CHAMPUS are the managed health care programs established by the

Department of Defense (“DoD”) for active duty service members, active duty family members,

retired service members and farnilies, and certain other eligible beneficiaries

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53. Since June l, 2004 to the present, Pharmacy Benefit Manager (“PBM”)l Express Scripts
has operated the TriCare Retail Pharmacy contract for all TRICARE beneficiaries located in the
50 States, the District of Columbia, Puerto Rico, the U.S. Virgin Islands and Guam, except for
beneficiaries enrolled in one particular plan which is not material to this action.

54. Pursuant to the Express-Scripts pharmacy manual, Express-Scripts’ TRICARE
reimbursement methodology is as follows:

a. For Generic Drugs or Multi-Source Brand Drugs, Express-Scripts will pay the lesser of:

i. AWP Generic Drugs or Multi-Source Brand Drugs ingredient cost minus contracted
Generic Drug discount plus contracted Generic Drug dispensing fee for the applicable

network; OR

ii. MAC discount plus contracted Generic Drug dispensing fee for applicable network;
OR

iii. Network Provider-submitted ingredient cost plus contracted Generic Drug dispensing
fee for applicable network; OR

iv. Usual and Customary Retail Price; OR
v. If applicable, special Sponsor reimbursement logic; OR
vi. State Fee Schedule (e.g., Workers' Compensation).
b. For Single-Source Brand Drugs, Express-Scripts will pay the lesser of:

i. AWP ingredient cost minus contracted brand discount plus contracted brand
dispensing fee for the applicable network; OR

ii. Network Provider submitted brand ingredient cost plus contracted brand dispensing
fee; OR

iii.Usual and Customary Retail Price; OR

iv.If applicable, specific Sponsor reimbursement; OR

 

l A PBM is a third party administrator primarily responsible for processing and paying prescription
drug claims for plan sponsor groups, such as managed-care organizations, insurance oarriers,
employers, and union-sponsored benefit plans.

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v. State Fee Schedule (e.g., Workers‘ Compensation)

55. The Express-Scripts pharmacy manual defines “Usual and Customary Retail Price (U&C)”
as follows: “To the extent no [sic] denned in the Provider Agreement, Usual and Customary Retail
Price means the usual and customary retail price of a Covered Medication in a cash transaction at the
Pharmacy dispensing the Covered Medication (in the quantity dispensed) on the date that it is
dispensed, inclusive of "loss leaders", frequent shopper or special customer discounts or programs,
competitor's matched price or any and all other discounts special promotions, and programs causing
a reduction in the price oHered to that Member and offered by the Network Provider (or any of its
Pharmacies) on such date. Additionally, the Usual and Customary Retail Price must include any
applicable discounts offered to attract customers including Members." (Emphasis added).

V.
HISTORICAL PERSPECTIVE OF PRESCRIPTION DRUG U&C PRICING AND
THE EMERGENCE OF PHARMACY DISCOUNT DRUG PROGRAMS

56. Historically, the same as today, GHP and private insurer drug reimbursement
methodologies, as a rule, have provided for the payment of the lower of U&C price or one or more
APTs

57. Retail pharmacies, in response, traditionally have set U&C prices to cash customers at
amounts materially exceeding many, if not most, corresponding APT prices, in the absence of
competitive pressures This is because the GHP and private insurer transactions outnumber sales
to cash customers and, as a consequence, setting U&C prices below the highest available APTs
would result in significant loss of revenue to a phannacy.

58. For these reasons, pharmacies were rarely reimbursed by GHPs and private insurers at the

retail pharmacies’ historically high, every day U&C prices to cash customers Retail pharmacies

were virtually always reimbursed at the lesser APT reimbursement formula rates

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59. The historical U&C pricing model underwent a drastic, game-changing makeover when,
beginning in approximately May 2006, closely following the implementation of Medicare Part D
prescription drug coverage earlier that year, Kmart and Walmart introduced and popularized the
first discount generic drug programs Kmart initially established a discount forrnulary specifically
identifying and listing i) some 300 generic maintenance drugs at commonly prescribed dosages
which it offered in a 90 count supply for $l 0, $15 or $25 and ii) select acute drugs which it offered
in a 30 count supply for $5. By the late fall, Walmart had established a nationwide discount
program and forrnulary which offered 30 count supplies of more than 300 drugs for $4. Before
the end of 2006, Kmart expanded its 30 count discount program to compete with Walmart.

60. By late 2006 or early 2007, many other pharmacy chains, including Target and Kroger had
instituted competitive discount drug programs Almost all pharmacies now have discount
programs which offer 30 count drug supplies for approximately $5 and 90 count supplies for
approximately $10 or $l$. In addition, many offer percentage or other discounts on all other
generic drugs which are not specifically identified and listed in any discount forrnulary (non-
forrnulary drugs) and all brand-name drugs

61. As a result of the emergence of discount drug programs hundreds of commonly prescribed
drugs are now sold to cash customers across the nation, every day, at U&C prices materially below
APTs included in GHP and private insurer reimbursement methodologies, counter to the historical
U&C pricing model.

62. Pursuant to most GHP reimbursement methodologies and U&C price definitions,
pharmacies are legally obligated to report the every-day cash prices at which they sell drugs under
their discount drug programs as their actual U&C prices on prescription drug claims to GHPs.

63. This principle was clarified in an October ll, 2006 memorandum to all part D sponsors from

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the CMS Director of the Medicare Drug Benefit Group on the subject “Lower Cash Price Policy”
(October 2006 CMS Memo). The memo conhrmed that every-day, reduced prices are considered a
pharmacy’s U&C prices under the Part D benefit design. In this respect the memo stated as follows:

We note that in cases where a pharmacy offers a lower price to its customers throughout a
benefit year, this would not constitute a ‘lower cash price’ situation that is the subject of this
guidance For example, Wal-Mart recently introduced a program offering a reduced price for
certain genetics to its customers The low Wal-Mart price on these speciic generic drugs is
considered Wal-Mart's ‘usual and customary' price, and is not considered a one~time ‘lower
cash' price, Part D sponsors consider this lower amount to be ‘usual and customary' and will
reimburse Wal-Mart on the basis of this price, To illustrate, suppose a Plan's usual negotiated
price for a specific drug is $10 with a beneficiary copay of 25% for a generic drug. Suppose
Wal-Mart offers the same generic drug throughout the benefit for $4. The Plan considers the
$4 to take the place of the $10 negotiated price, The $4 is not considered a lower cash price,
because it is not a one~time special price. The Plan will adjudicate Wal-mart's claim for $4
and the beneficiary will pay only a $ lcopay, rather than a $2.50 copay. 'l`his means that both
the Plan and the beneficiary are benefitting from the Wal-mart ‘usual and customary’ price,
and the discounted Wal-Mart price of the drug is actually offered within the Plan’s Part D
benefit design. Therefore, the beneficiary can access this discount at any point in the benefit
year, the claim will be adjudicated through the Plan’s systems, and the beneficiary will not
need to send documentation to the plan to have the lower cash price count toward the TrOOP
[True Out-of-Pocket costs].

64. Consistent with the directive of the October 2006 CMS Memo, Relator has been informed
by Walmart pharmacists that Walmart reports its $4 cash discount prices as its U&C prices on
claims submitted for payment to Gl~lPs, thereby giving GHPs the benefit of the discount prices it
charges to its other customers and payers

65 . ln those instances where a State Medicaid program defines U&C price in terms broader
than the price charged in a cash transaction, including all discounts and promotions, e.g., the
average charge to all customers, the pharmacy provider has a legal duty as a condition of payment

to accurately determine and report its true U&C prices based on the applicable defmition.

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VI.
DEFENDANTS’ U&C PRICE FRAUD

A. Summary description of unlawful acts

66. Since at least January, 2010 and continuing through the present, Defendants have
knowingly and systematically defrauded GHPs by knowingly engaging in the pattern and practice
of disregarding the every-day, discounted prices they charge cash customers for certain
pharmaceuticals when determining the U&C prices they represented and reported to GHPs for
reimbursement purposes Defendants have presented, and continue to present, false and fraudulent
claims to GHPs which include falsely reported, inflated U&C prices, in order to obtain larger
amounts in reimbursement Consequently, Defendants were reimbursed, and continue to be
reimbursed, for certain pharmaceuticals at amounts that clearly exceed their U&C prices

67. Defendants’ claims for payment to GHPs for discount drugs furnished to GHP
beneficiaries were false, because GHP prescription drug reimbursement rules generally provide
for the payment of the lesser of a provider’s U&C price and one or more APTS. Defendants
knowingly concealed their true U&C prices, which were materially lower than APTs, and reported
false, inflated U&C prices to GHPs that were higher than APTs, in order to obtain payments that
were excessive under reimbursement rules

68. GHPs paid Defendants’ false claims for discount prescription drugs furnished to GHP
beneficiaries based on the false set of facts, i.e., that Defendants’ U&C prices were higher than
other applicable APTs, and GHPs Would not have paid such claims if they had known the true state
of facts

69. As a result of Defendants’ fraudulent conduct, GHPs unwittingly paid to Defendants and
Defendants fraudulently collected from GHPs, excessive reimbursements based on APTs higher

than Defendants’ true, lower U&C prices Defendants engaged in this scheme With regard to a)

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drugs price matched to competitor pharmacies’ $4 formulary, and b) non~formulary percentage
discounts

70. Defendants’ fraudulent scheme has caused GHPs to pay Defendants significantly higher
reimbursement amounts than they were, and are, entitled to receive under federal and state laws
and regulations for prescriptions filled for GHP beneficiaries

7l. Beginning in the spring and continuing at least until the fall of 2012, Defendants
knowingly and systematically defrauded GHPs through a second U&C pricing scheme. Pursuant
to the second scheme, if a third party payer, including a GHP, paid the Defendants’ fraudulently
reported inflated U&C price on an initial claim, Defendants’ reversed the initial claim and re-
submitted a new claim with an impromptu, contrived, substantially higher U&C price gauged to
capture every available dollar under the payer's reimbursement methodology

72. Defendants have submitted many thousands of false claims for prescriptions they filled for
GPH beneficiaries based on the number of pharmacies Defendants operate, the number of generic
drugs and brand-name drugs involved, the number of GHP prescription drug transactions at each
pharmacy, and the covered time period, which began in as early as 2009 and is ongoing.
B. Moore, OK Rexall Drug, Inc. pharmacy U&C pricing and prescription discount practices

prior to its acquisition by USA Drug family of pharmacies affiliate Med-X Corporation
in November, 2009

73. Relator has personal knowledge of the operations of the Moore, OK Rexall Drug
pharmacy prior to its acquisition by USA Drug affiliate Med-X Corporation in November, 2009.
His personal knowledge is based on his continuous employment at the Moore, OK Rexall Drug
pharmacy from approximately August 1998 through the acquisition date. As outlined above in
Section II.B., he started as a pharmacy technician, advanced to pharmacy intem, and in 2003

became a licensed pharmacist

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74. Prior to its acquisition by USA Drug in November, 2009, the Moore, OK Rexall Drug
pharmacy did not offer a set, every day discount prescription drug program open to all customers

75. As a general rule, Moore, OK Rexall Drug followed the historical prescription drug
pricing model described in Section V and set its U&C prices materially higher than the APT prices
paid by third party payers, including GHPs

76. However, when the Rexall Drug pharmacy’s established U&C price for a particular drug
was much higher than local competitor prices to cash customers in an attempt to maintain
customer satisfaction, pharmacists had the discretion to offer and issue a free "True Care“ discount
card to a cash customer and reduce the price. These discretionary discounted prices were offered
on an infrequent basis, Relator estimates less than l% of prescription sales, and the Rexall Drug
pharmacy discounted price was routinely set at the discretion of the pharmacist somewhere
between the Rexall Drug pharmacy U&C price and the lower local competitor price, but as a rule
not below third party payer amounts 'l`he lower competitor prices were not matched. Typically,
if one cash customer was issued a "True Care" card and received a discount for particular drug,
the discount was entered in the pharmacy management software system, and succeeding cash
customers for the same drug also Were issued a "True Care“ card and granted the same reduced
price. 'l`he "True Care" discount cards were provided through third party claims administrator
PBA Health, under an arrangement where PBA Health charged Rexall Drug pharmacy a nominal
810 monthly fee and, in return, paid Rexall Drug a small fee (e.g., $ .04) on each "True Care“ cash
customer transaction for the right to sell the Rexall' Drug transaction data. The fee Rexall Drug
received on each "True Care" cash transaction was substantially less than, and did not cover, the
amount discounted from the U&C price. Even though "True Care“ was not, and is not, a third

party payer, it generally appeared as a third party payer in the pharmacy claims processing systems

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and the "True Care" cash transactions were accrued under a "True Care" payer category as if they
were third party payer transactions In particular, the label on the prescription package delivered
to the customer and pharmacy management software payer category field identified "True Care"
as the payer. The prescription detail in the pharmacy management software however identified the
"'I`rue Care" transactions as cash sales

77. After Med-X Corporation acquired the Moore, OK Rexall Drug pharmacy in
November, 2009, the Rexall Drug pharmacy’s prior use of the "True Care" card as a vehicle under
the limited circumstances described above to provide discounts to cash customers was
discontinued almost immediately However, in early 2012 USA Drug and its affiliate pharmacies
reinstituted the use of the True Care cards and payer category at all of it stores for all match price
and other cash transactions

78. The Moore, OK Rexall Drug pharmacy used the window-based ComputerRX pharmacy
management software. lt continued to use the ComputerRX system after its acquisition by Med-
X Corporation in November, 2009, the pharmacy’s relocation in October, 2011, Walgreen Co.'s
acquisition of the USA Drug farnin of pharmacies in September, 2012, and until its closure in
December, 2012,
C. USA Drug affiliate, Med-X Corporation's, acquisition of the Moore, OK Rexall Drug

pharmacy in November, 2009, and the implementation of match price discount program
and U&C pricing scheme in January, 2010

79. Relator has personal knowledge of the operations of the USA Drug family of pharmacies
based on his uninterrupted employment at the Med-X Drug #6142 pharmacy in Moore, OK from
the time USA Drug affiliate Med-X Corporation acquired the Moore, OK Rexall Drug pharmacy
in November, 2009 through Walgreen Co.'s acquisition of USA Drug and its affiliated pharmacies

in September, 2012, As previously stated, when Med-X Corporation first acquired the Moore, OK

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Rexall Drug pharmacy it hired and designated Relator as Pharmacist-in-Charge and for a time
continued to publically operate the pharmacy under the Rexall Drug name at the same location,
even though the pharmacy was referred to as Med-X Drug #6142 within the USA Drug family of
pharmacies In approximately October, 201 1, the pharmacy was relocated from 621 N. Broadway
to 601 N. Broadway in Moore, OK and it began to be publically operated under the "Med-X" name.
1. Reporting of fraudulently inflated U&C prices on GHP prescription drug claims: failure

under applicable GHP reimbursement regulations to consider and include cash discount
prices in the determination and reporting of U&C price

80. By January, 2010, shortly following the acquisition of the Moore, OK Rexall Drug
pharmacy in November, 2009, a price match discount drug program that had been in effect at USA
Drug pharmacy affiliates since before the acquisition was instituted at the Moore, OK Rexall Drug
pharmacy. Pursuant to the USA Drug price match program, the pharmacy matched the
prescription drug discount prices offered by its local competitors and in particular, Walmart. That
is, USA Drug did not publish its own proprietary prescription discount fonnulary which
specifically identified and listed the drugs on which it offered every day discount cash prices
lnstead, it followed its competitors' formularies, which were available to pharmacy staff in hard
copy and on the company intranet system. Relator estimates that 90% of his pharmacy’s price
matches Were based on the Walmart prescription discount formulary.

81. Typical competitor prescription discount price formularies, including Walmart's, offered
$4, 30 day supplies and $10 or $lS, 90 day supplies for specifically identified drugs

82. In addition to matching the $4, 30 day supply, and 810 or $15, 90 day supply, prescription
discount cash prices of its competitors Defendants matched the percentage discount cash prices

offered by competitors on brand-name drugs and non-forrnulary generic drugs

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83. Despite a stated policy and pretext that discount prices of competitors were matched only
upon the explicit request of the customer, in practice, in the vast majority of instances competitor
discount prices were proactively matched by pharmacy staff without any customer request.

84. In sharp contrast to the every day, match discount prices Defendants offered to cash
customers Defendants knowingly did not extend the same match discount prices to third party
payers including GHPs lnstead, in express violation of GHP reimbursement methodologies i)
that restrict the allowable payment to the lesser of U&C price or one or more alternative APTS and
ii) that define U&C price in terms of cash prices or include cash prices in its determination,
Defendants knowingly have reported false, materially higher U&C prices which do not take match
discount prices into account, on claims submitted to GHPs for the same drugs offered to cash
customers at match discount prices Defendants knowingly have submitted fraudulently inflated
U&C prices for the specific purpose of obtaining from third party payers including GHPs
materially higher reimbursement payments than they Were entitled to receive had they reported
true U&C prices in compliance with applicable reimbursement methodologies Defendants’
conduct has resulted in their illegal receipt of substantial overpayments from GHPs for drugs sold
to cash customers at match price discounts

85. The U&C prices Defendant pharmacies reported to third party payers including GHPs
were determined by the corporate office in Pine Bluff, AK, and principally by and under the
direction of USA Drug Vice President of Pharmacy and Director of Pharmacy Services Galen
Perkins. With few and infrequent exceptions one U&C price was established by the corporate
office for any particular drug at any given time and that single U&C price was required to be used

by all USA Drug affiliated pharmacies at all locations to submit claims to third party payers

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86. As previously mentioned in this subsection, contrary to the great majority of GHP
reimbursement methodologies the U&C prices established by the corporate office for drugs
offered to cash customers at match discounts which all USA Drug affiliated pharmacies were
required to report on claims submitted to GHPs did not reflect or take into account, and were
substantially higher than, the match prices

87. At the time USA Drug acquired the Moore, OK Rexall Drug pharmacy in November 2009,
Relator estimates that 80% of the USA Drug pharmacies were using the DOS-based PDX
pharmacy management software. However, by the summer of 2011, all of the USA Drug
pharmacies had converted to the ComputerRX system.

88. When a pharmacist or technician at one of the Defendants’ pharmacies accessed the
pharmacy management software used to transact a prescription fill, the system listed the corporate
office mandated U&C price for the drug and the prices paid by the customer on any previous fills
ln the case of a drug offered to cash customers at match price and percentage discounts the
prescription fill was routinely processed as follows:

a. For an uninsured cash customer, the customer paid the match discount price which was
materially lower than the corporate-established U&C price reported on third party payer
claims including GHP claims

b. For a GHP beneficiary with a co-payment or coinsurance less than the match discount price,
the claim Was Submitted for payment to the GHP; the U&C price the pharmacy reported on
the claim was the corporate-established U&C price, not the materially lower match price or
a U&C price that included match price transactions in its calculation; the pharmacy received
reimbursement from the GHP based on the reported, corporate-established U&C price; and
the pharmacy collected any co-payment or co-insurance from the beneficiary, By means of
this fraudulent U&C pricing scheme, whereby Defendants knowingly disregarded match
prices in the determination of U&C price in violation of GHP reimbursement regulations and
knowingly reported a. fraudulently inflated, corporate office substituted U&C price,
Defendants knowingly obtained greater reimbursement from GHPs than they were entitled
to receive under applicable reimbursement rules Typically, the GHP reimbursement, by

itself without the co-pay or co-insurance amount, was materially higher than the match
discount price defined as cash transaction,

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c. For an insured customer, including a GHP beneficiary, with a co-payment or coinsurance
more than the match discount price, in many instances Defendants reversed the initial third
party payer claim which had been submitted at an inflated U&C price and charged the
customer the lower match discount price. However, even in these situations there were
occasions where Defendants submitted the claim to the third party payer with a U&C price
materially higher than the cash match discount price; collected the co-pay / co-insurance
amount from the customer; and received additional reimbursement from the third party

payer.

89. ln summary, Defendants have knowingly presented false claims for payment, and used
false statements and records material to those false claims on prescription drug claims submitted
to GHPs and other third party payers whose reimbursement rules limit payment to the lesser of i)
the pharmacy provider's U&C price calculated in accordance with the particular payer's U&C price
definition, ii) or one or more APTs. More specifically, Defendants have knowingly disregarded
the every-day cash prescription discount match prices they have charged to customers when
calculating and reporting U&C prices on claims submitted to GHPs and other third party payers
lnstead, they have knowingly reported false, inflated U&C prices in order to receive higher
reimbursement A number of representative examples of Defendants’ false claims transactions are
set forth below.

90. The USA Drug family of pharmacies Defendants’ intent and knowledge regarding the
purpose and financial effect of their fraudulent practice of reporting false, inflated U&C prices to
third party payers including GHPs is capsulized and exposed in a September 7, 2010 e-m sent by
USA Drug Vice President of Pharmacy and Director of Pharmacy Services Galen Perkins to
approximately 138 USA Drug and affiliated pharmacies lt states in part as follows:

Those pharmacies on Computer RX have previously either priced drugs manually or under
the default price of AWP + $5.10. We now have several new price codes and pricing tables

in place to address the cash pricing in this system . . .

The brand name is pricing based on the Price Code "J". You will also see this code listed
under the drug info. The generic can also be priced off a letter code. In this case the code

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is blank because the drug is priced based on a competitive price table. The competitive table
number can also be seen in the drug file.

It is our attempt to give cash pricing to the pharmacy which is comparable to the
competition in your area and will also maximizes [sic] the payments ji'om third party payers.
The pricing at this time is not intended to replicate any $4 list or similar product. We do
not want $4 pricing to be reflected as our Usual and Customary pricing at this time. Our
policy of price matching is still in place and it will be necessary on occasion to override the
cash pricing in the system. . .

(Emphasis added).

2. Reporting of fraudulently inflated U&C prices on GHP prescription drug claims:
Impromptu U&C price adjustment increase scheme

91. Defendants implemented a second, related U&C pricing scheme, which also involved the
fraudulent manipulation and reporting of inflated U&C prices The purpose of this second scheme,
like the first scheme, was to maximize reimbursement from GHPs and other third party payers
which had reimbursement methodologies limiting payment to the lesser of the pharmacy provider's
U&C price or one or more APTs.

92. Beginning in the spring and continuing at least through the fall of 2012, Defendants
configured their pharmacy management software to intercept and prevent prescription sales in
situations where the adjudicated claim indicated the third party payer, including a GHP, paid the
Defendants' reported U&C price, Payment of the reported U&C price signaled that the payer likely
would have paid a higher reimbursement rate if a higher U&C price had been reported. In these
instances "* * * * *Warning * * * * * [return] Insurance Paid U&C Price* *" was printed on the
initial customer receipt. To complete the sales transaction, the pharmacist or technician reversed
the original claim and submitted a new claim with a totally fabricated, decidedly increased U&C
price (e.g., double the original amount) intended to capture every available third party payer dollar.

The amount of the increased U&C price was arbitrarily set in the discretion of the pharmacist or

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technician, Invariably, the reimbursement paid on the adjudicated new claim was higher than the
U&C price reported and paid on the original, reversed claim.

93. The scope of this impromptu U&C price adjustment increase scheme included all third
party prescription drug claims submitted by Defendants not just claims for drugs offered to cash
customers at match prices

D. Continuation of match price discount program at USA Drug and affiliated pharmacies
after they were acquired by Walgreen Co. in September, 2012

94. Relator has personal knowledge of Walgreen Co.'s operation of the USA Drug family of
pharmacies after the date it acquired those pharmacies in September, 2012. His personal
knowledge is based on his retention as the Pharmacist-In-Charge at the Med-X Drug #6142
pharmacy in Moore, OK from and after the Walgreens' acquisition and until he was laid off in late
October at or near the time the Med-X Drug #6142 pharmacy was closed.

95. On or about September 17, 2012, Walgreens announced the completion of its purchase of
the USA Drug family of pharmacies which included the Med-X #6142 pharmacy in Moore, OK
where Relator was the Pharmacist in Charge.

96. Except for perhaps a week period from approximately September 21 to 28, 2012, the USA
Drug family of pharmacies acquired and operated by Walgreens continued to match competitor
cash discount prices and at the same time knowingly submit false claims to GHPs for the same
drugs On claims submitted to GHPs with reimbursement regulations which limit payment to the
lesser of U&C price and alternative APTs and define U&C price in terms of cash prices or include
cash prices in its determination, Defendants knowingly disregarded match prices in the
determination of U&C prices and knowingly reported fraudulently inflated U&C prices with the
intent and in order to receive higher reimbursement As a direct result of Defendants fraudulent

conduct, GHPs in fact, paid Defendants higher reimbursement than Defendants were entitled to

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receive or would have received had Defendants reported U&C prices in compliance with
applicable "lesser of" GHP reimbursement regulations

97. On September 21, 2012, Kathy Collier, DPh, Pharmacy District Manager sent an e-m to
USA Drug family of pharmacies acquired by Walgreens which stated that "Effective with the sale
to Walgreen's we can no longer match prices including $4 plan." The e-m was sent to 19
pharmacies including pharmacies operated under the Mays, Med-X and USA names

98. However, approximately one week later, the match price program was reinstituted. Relator
received a call from Pharmacy District Manager, Kathy Collier, and she instructed him to re-
implement the prior match price program. She further informed him that the Defendants did not
want to document the reinstitution of the price match program and no written directive would be
issued to that effect to the USA Drug family of pharmacies acquired by Walgreen Co. She stated
she was calling each of the pharmacies in her district to notify them of the continuation of the
match price program

99. The Fall 2012 edition of health and wellness magazine, Remedy's Healthy Living,
contained an ad by USA Drug which stated, in relevant part, that "We will match any local
competitor's prescription price, including the $4 generic plans! Just ask." Remedy's Healthy
Living magazine, formerly MediZine's Healthy Living, is owned by Medizine, Inc. and is
distributed quarterly in doctors' offices and on retail pharmacy counters USA Drug affiliated
pharmacies identified in the ad included USA Drug, Super D, May’s Med-X ad Drug Warehouse.

100. As part of the reorganization plan and transition of the USA Drug family of pharmacies
after their purchase by Walgreen Co., a select few locations were closed within months of the
acquisition, and for those locations and in anticipation of their closure, Walgreen Co. established

a "Script Retention Bonus Program," which was facilitated by the continuation of the match price

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program. The program was intended to provide an added incentive for current employees of USA
Drug and affiliated pharmacies to remain and engage in their best efforts to maintain or improve
prescription volume at the pharmacy location, in preparation for the transfer of prescriptions to a
nearby Walgreens location The match price program was critical to maintaining or improving
prescription volume for transfer to Walgreens pharmacies

101.The Med-X Corporation pharmacy in Moore, OK where Relator was the Pharmacist in
Charge was closed in or about late October 2012 as part of the reorganization of the USA Drug
family of pharmacies after their acquisition by Walgreen Co. Relator's last day at the pharmacy
was October 22, 10, 2012.

E. Representative Examples of Fraudulent Conduct

102.The following paragraphs summarize and compare Defendants’ prescription discount cash
sale prices to patients and the amounts Defendants submitted on GHP claims for the same drugs
during the same time period. The examples clearly illustrate that Defendants did not offer and
charge their everyday, U&C price to GHPs as mandated by applicable GHP reimbursement
methodologies The examples below are all derived from transactions involving Med-X store
#6142 in Moore, Oklahoma, where Relator worked and eventually became aware of the fraudulent
scheme; however, they are representative of the uniform billing practices of all the Defendants’
pharmacies Transactions were recorded in Detail Sales Report spreadsheets identifying the
transaction date, unique transaction identification number, sale price, third party payer where

applicable, patient copayment amount, and other transaction-level detailed information

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1. Fluoxetine
a. 2010
103. On February 16, 2010, Med-X #6142 filled prescription number #1 101381 for Fluoxetine

40 mg, 30 count tablets through pharmacist CP and charged the patient a cash purchase price of
$4 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price listed in the
system for the drug Was $166.09.

104. On January 27, 2010, the government (Medicare Part D) Was billed an inflated price for
the same drug and quantity as illustrated in the table below. In this example, both the patient and
the GHP overpaid as a result of the fraudulent conduct The patient should have paid $4 instead
of $6, and Medicare should have paid zero instead of $17.35. In other Words, the pharmacy

charged a Medicare patient a total of $23.35 on a prescription sold to cash customers for $4.

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Fluoxetine 40mg (30 Count)
Date: 01/27/2010 Patient Co Payment: $6.00
Prescription # 1094610 GHP Billed MEDICARE D
Cash Price; $4.00 GHP Payment $17.35
Reported U&C $166.09 GHP Overpayment $17.35
Price;

b. 2011

105. On February 3, 2011, Med-X #6142 filled prescription number #7032763 for Fluoxetine
40 mg, 30 count tablets through pharmacy technician KAC and charged the patient a cash purchase
price of $4 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price
listed in the system for the drug was $166.09.

106. On February 2, 2011, the government (DHS OK - Oklahoma Medicaid) was billed an
inflated price for the same drug and quantity as illustrated in the table below. In this example,

Oklahoma Medicaid should have paid $4 instead of $l6.98. The result was a $12.98 overpayment

 

rStore: l Med-X #6142 Moore, OK l Fluoxetine 40mg (30 Count) l

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Date: 02/02/2011 Patient Co Payment: $0.00
Prescription # 7042316 GHP Billed DHS OK
Cash Price: $4.00 GHP Payment 316.98
Reported U&C $166.09 GHP Overpayment $12.98
Price:

c. 2012

107. On March 19, 2012, Med-X #6142 filled prescription number #7084002 for Fluoxetine
40 mg, 90 count tablets through pharmacy technician SAL and charged the patient a cash purchase
price of $10 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price
listed in the system for the drug was $430.91.

108. On April 4, 2012, the government (TRICARE) Was billed an inflated price for the same
drug and quantity as illustrated in the table below. In this example, both the patient and the GHP
overpaid. The patient should have paid $4 instead of $15, resulting in an $l l overpayment by the
patient. TRICARE should have paid zero instead of $23, resulting in a $23 overpayment
Similarly, the $4 cash price should have been reported as Med-X’s U&C price instead of the highly
inflated $430.91 amount actually reported as the U&C price. The inflated U&C price served the
purpose of shielding Med-X’s true U&C price for reimbursement purposes, and allowed the

pharmacy to charge a veteran covered by TRICARE a total 0f$38 for a drug sold to cash customers

 

 

 

 

 

for $4.
Store: Med-X #6142 Moore, OK Fluoxetine 40mg (90 Count)
Date: 04/04/2012 Patient Co Payment: $15.00
Prescription # 7075444 GHP Billed TRICARE
Cash Price: $4.00 GHP Payment $23.00
Reported U&C $430.91 GHP Overpayment $23.00
Price:

 

 

 

 

 

 

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d. 2012 post- Walgreen acquisition

109. On October 6, 2012, Med-X #6142 filled prescription number #7082501 for Fluoxetine
40 mg, 30 count tablets through pharmacy technician LS and charged the patient a cash purchase
price of $4 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price
listed in the system for the drug was 3153.96.

110. Similarly, on October 2, 2012, (after Walgreen acquired the Defendants), the government
(Medicare Part D) was billed an inflated price for the same drug and quantity as illustrated in the
table below. In this example, the GHP should have paid $2 instead of $24.27 after the patient’s

$2 co-pay covered half of the $4 cash price. The result was a $22.27 overpayment by Medicare.

 

 

 

 

 

Store: Med-X #6142 Moore, Fluoxetine 40mg (30 Count)

OK
Date: 10/02/2012 Patient Co Payment: $2.00
Prescription # 7082041 GHP Billed Medicare D
Cash Price: $4.00 GHP Payment $24.27
Reported U&C $153.96 GHP Overpayment $22.27
Price:

 

 

 

 

 

 

2. Diclofenac 2012
a. Example 1
l l 1. On February 20, 2012, Med-X #6142 filled prescription number #7074193 for Diclofenac

75 mg EC, 60 count tablets through pharmacy technician LS and charged the patient a cash
purchase price of $8 by cash override as a price match to the Wal-Mart $4 Generics list. The cash
matching price technically should have been $4 rather than $8; $8 was entered by mistake by the
pharmacy technician The mistake has no bearing on the analysis below setting forth the fraudulent
nature of the transaction The U&C Price listed in the system for the drug was $71.38.

112. On February 16, 2012, the government (TRICARE) was billed an inflated price for the

same drug and quantity as illustrated in the table below. TRICARE should have paid $3, the

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difference between the $8 cash price and the $5 patient co-pay. TRICARE actually paid $29.27

instead of $3, resulting in a $26.27 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, OK Diclofenac 75mg EC 60 Count)
Date: 02/16/2012 Patient Co Payment: $5.00
Prescription # 7080561 GHP Billed TRICARE
Cash Price: $8.00 GHP Payment $29.27
Reported U&C $71.38 GHP Overpayment $26.27
Price:

 

 

 

 

 

 

b. Example 2
ll3. On March 13, 2012, Med-X #6142 filled prescription number #7074193 for Diclofenac

75 mg DR, 60 count tablets through pharmacist CP and charged the patient a cash purchase price
of $8 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price listed in
the system for the drug was $lO4.33.

ll4. On March 30, 2012, the government (DHS OK Oklahoma Medicaid) was billed an
inflated price for the same drug and quantity as illustrated in the table below. In this example,
Oklahoma Medicaid should have paid the $3 difference between the $8 cash price and the $5

patient co-pay. Oklahoma Medicaid actually paid $24 instead of $21, resulting in a $21

 

 

 

 

 

overpayment

Store: Med-X #6142 Moore, Diclofenac 75mg DR (60 Count)
OK

Date: 03/30/2012 Patient Co Payment: $5.00
Prescription # 70853 55 GHP Billed DHSOK
Cash Price: $8.00 GHP Payment $24.00
Reported U&C $104.33 GHP Overpayment $21.00
Price:

 

 

 

 

 

 

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3. Pravastatin
a. 2010

115. On September ll, 2010, Med-X #6142 filled prescription number #7013900 for
Pravastatin 20mg, 30 count tablets through pharmacist DM and charged the patient a cash purchase
price of $4 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price
listed in the system for the drug was $112.01.

116. On September 10, 2010, the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, both the patient
and the government were defrauded The patient should have paid the $4 cash price instead of a
$5 co-pay. That $4 would have covered the entire cost of the prescription The GHP would have

paid nothing. Medicare actually paid $11.38, of which all $11.38 constituted an overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Pravastatin 20mg (30 Count)
OK

Date: 09/10/10 Patient Co Payrnent: $5.00
Prescription # 7024191 GHP Billed Medicare D
Cash Price: $4 GHP Payment $11.38
Reported U&C $112.01 GHP Overpayment $11.38
Price:

b. 2012

117. On July 24, 2012, Med-X #6142 filled prescription number #7097336 for Pravastatin
40mg, 90 count tablets through pharmacist CP and charged the patient a cash purchase price of
$10 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price listed in
the system for the drug was $75.49.

118. Similarly, on July 23, 2012, the government (Medicare Part D) was billed an inflated
price for the same drug and quantity as illustrated in the table below. In this example, both the

patient and the GHP again overpaid. The patient should have covered the entire cost of the

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prescription by paying the $10 cash price instead of paying a 312 co-pay. Medicare should have

paid nothing, but instead was billed and paid $5.94.

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Store: Med-X #6142 Moore, Pravastatin 40mg (90 Count)
OK

Date: 07/23/ 12 Patient Co Payrnent: $12.00
Prescription # 7068132 GHP Billed Medicare D
Cash Price: $ l 0 GHP Payment $5.94
Reported U&C $75.49 GHP Overpayment $5.94
Price:

c. 2012 post- Walgreen acquisition

119. On October 5, 2012, Med-X #6142 filled prescription number #7104899 for Pravastatin
20mg, 30 count tablets through pharmacist KAC and charged the patient a cash purchase price of
$4 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price listed in the
system for the drug was $96.33.

120. On October 9, 2012, the government (Medicare Part D) was billed an inflated price for
the same drug and quantity as illustrated in the table below. In this example, Medicare should

have paid the $4 cash price instead of $l l .20. Thus, the GHP overpaid by $7.20.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Pravastatin 20mg (30 Count)
OK

Date: 10/09/12 Patient Co Payrnent: $0

Prescription # 7087308 GHP Billed Medicare D

Cash Price: $4 GHP Payment $11.20

Reported U&C $96.33 GHP Overpayment $7.20

Price:

 

4. Warfarin

a. 2010

 

l2l. On January 21, 2010, Med-X #6142 filled prescription number #1084516 for Warf`arin

Sodium 7.5mg, 30 count tablets through pharmacist AH and charged the patient a cash purchase

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price of $4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price
listed in the system for the drug was $34.03.

122. On January 16, 2010, the government (Medicare Part D) was billed an inflated price for
the same drug and quantity as illustrated in the table below. In this example, Medicare should
have paid the $1.50 difference between the $4 cash price and the $2.50 patient co-pay. Medicare

actually paid $9.84, resulting in an $8.34 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Warfarin Sod 7.Smg (30 Count)
OK
Date: 01/16/ 10 Patient Co Payrnent: $2.50
Prescription # 7004634 GHP Billed Medicare D Prime
Cash Price: $4 GHP Payment $9.84
Reported U&C $34.03 GHP Overpayment $8.34
Price:
b. 2012

123. On February 18, 2012, Med-X #6142 filled prescription number #7055991 for Warfarin
Sodium 7.5mg, 90 count tablets through pharmacy technician SI and charged the patient a cash
purchase price of $12 by cash override as a price match to the Wal-Mart $4 Generics list. The
U&C Price listed in the system for the drug was $83.69. The matching cash price technically
should have been $10 rather than $12; the mistake by the pharmacy technician has bearing on the
analysis of fraudulent conduct below.

124. On February 16, 2012, the government (Medicare Part D) was billed an inflated price for
the same drug and quantity as illustrated in the table below. In this example, both the patient and
the GHP were defrauded The patient should have paid the $12 cash price instead of a $30 co-pay,
resulting in an $18 overpayment by the patient Medicare should have paid nothing, making the

full $20.86 spent an overpayment

 

Store: Med-X #6142 Moore, Warfarin Sod 7.5mg (90 Count)
OK

 

 

 

 

 

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Date: 02/16/12 Patient Co Payrnent: $30.00
Prescription # 7080466 GHP Billed Medicare D Prime
Cash Price: 312 GHP Payment $20.86

Reported U&C $83.69 GHP Overpayment $20.86

Price:

 

 

 

 

 

 

c. 2012 Walgreen Ownership Example
125. On September 1 1, 2012, Med-X #6142 filled prescription number #7102339 for Warfarin

2mg, 30 count tablets through pharmacist CC and charged the patient a cash purchase price of $4
by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price listed in the
system for the drug was $26.92.

126. On September 14, 2012, the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, both the patient
and the GHP again overpaid. The patient should have paid the $4 cash price instead of a $5 co-

pay. TRICARE should have paid nothing, making the $1.26 an overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, OK Warfarin 2mg (30 Count)
Date: 09/14/ 12 Patient Co Payrnent: $5.00
Prescription # 7102787 GHP Billed Tricare
Cash Price: $4 GHP Payment $1.26
Reported U&C $26.92 GHP Overpayment $1.26
Price:

 

 

 

 

 

 

5. Lovastatin
a. 2010
127. On June 16, 20l0, Med-X #6142 filled prescription number #1102558 for Lovastatin

20mg, 30 count tablets through pharmacy technician DC and charged the patient a cash purchase
price of $4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price
listed in the system for the drug was $85.18.

128. Similarly, on June 14, 2010, the government (Medicare Part D) was billed an inflated

price for the same drug and quantity as illustrated in the table below. In this example, the GHP

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should have paid the $1.50 difference between the $4 cash price and the $2.50 patient co-pay. The

GHP actually paid $6.68, resulting in a $5.18 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Lovastatin 20mg (30 Count)
OK
Date: 06/14/10 Patient Co Payrnent: $2.50
Prescription # 7019989 GHP Billed Secure D
Cash Price: $4 GHP Payment $6.68
Reported U&C $85.18 GHP Overpayment $5.18
Price:
b. 2011

129. On June 13, 2011, Med-X #6142 filled prescription number #7031753 for Lovastatin
40mg, 30 count tablets through pharmacist CP and charged the patient a cash purchase price of $4
by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price listed in the
system for the drug was $142.15.

130. On June 8, 2011, the government (Medicare Part D) was billed an inflated price for the
same drug and quantity as illustrated in the table below. In this example, both the patient and the
GHP overpaid. The patient should have paid the $4 cash price instead of a $5 co-pay, and the
GHP should have paid nothing instead of a $4 overpayment Med-X essentially double-charged

the patient and the GHP on this transaction

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Lovastatin 40mg (30 Count)
Date: 06/8/11 Patient Co Payrnent: $5.00
Prescription # 7023 068 GHP Billed Secure D
Cash Price: $4 GHP Payment $4.00
Reported U&C Price: $142.15 GHP Overpayment $4.00
c. 2012
131. On June 20, 2012, Med-X #6142 filled prescription number #7064541 for Lovastatin

40mg, 30 count tablets through pharmacy technician SAL and charged the patient a cash purchase

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price of $4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price
listed in the system for the drug was $124.35.

132. On June 25, 2012, the government (Medicare Part D) was billed an inflated price for the
same drug and quantity as illustrated in the table below. In this example, Medicare should have

paid the $4 cash price instead of $12.49. The result was an $8.49 overpayment

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Lovastatin 40mg (90 Count)

OK
Date: 06/25/ 12 Patient Co Payment: $0
Prescription # 7089297 GHP Billed Medicare D
Cash Price: $4 GHP Payment $12.49
Reported U&C Price: $124.35 GHP Overpayment $8.49

 

 

 

d. 2012 post- Walgreen acquisition
133. On September 19, 2012, Med-X #6142 filled prescription number #7103173 for
Lovastatin 40mg, 90 count tablets through pharmacist KA and charged the patient a cash purchase
price of $10 by cash override as a price match to the Wal-Mart $4 Generics list. The U&C Price
listed in the system for the drug was $41.38.
134. On September 24, 2012 the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, both the patient
and the GHP overpaid. The patient should have paid the $10 cash price instead of an $18 co-pay,

resulting in an $8 overpayment by the patient Medicare should have paid nothing, making all

$8.04 expended an overpayment

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Lovastatin 40mg (90 Count)

OK
Date: 09/24/ 12 Patient Co Payrnent: $18
Prescription # 7094733 GHP Billed Medicare D
Cash Price: $10 GHP Payment $8.04
Reported U&C Price: $41.98 GHP Overpayment $8.04

 

 

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6. Lisinopril
a. 2010

135. On March 15, 2010, Med-X #6142 filled prescription number #7007470 for Lisinopril
lOmg, 30 count tablets through pharmacist CP and charged the patient a cash purchase price of $4
by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price listed in the
system for the drug was $33.47.

136. On March 18, 2010, the government (TRICARE) was billed an inflated price for the same
drug and quantity as illustrated in the table below. In this example, TRICARE should have paid
the $1 difference between the $4 cash price and the $3 patient co-pay. TRICARE actually paid

$4.50 instead of $l, resulting in a $3.50 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Lisinopril 10mg (30 Count)
OK

Date: 03/18/ 10 Patient Co Payrnent: $3
Prescription # 7005365 GHP Billed Tricare
Cash Price: $4 GHP Payment $4.50
Reported U&C $33.47 GHP Overpayment $3.50
Price:

b. 2011

137. On May 5, 201 l, Med-X #6142 filled prescription number #7051851 for Lisinopri120mg,
90 count tablets through pharmacy technician LS and charged the patient a cash purchase price of
$10 by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price listed in
the system for the drug was $102.22.

138. On May 5, 2011, the government (Medicare Part D by Secure D) was billed an inflated
price for the same drug and quantity as illustrated in the table below. In this example, the GHP
should have paid the $2.90 difference between the $4 cash price and the $1.10 patient co-pay. The

GHP actually paid $10.30 instead of $2.90, resulting in a $7.40 overpayment

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Store: Med-X #6142 Moore, Lisinopril 20mg (90 Count)
OK

Date: 05/05/11 Patient Co Payrnent: $l.lO

Prescription # 7051886 GHP Billed Secure D

Cash Price: $4 GHP Payment $10.30

Reported U&C $102.22 GHP Overpayment $7.40

Price:

 

 

 

c. 2012 post- Walgreen acquisition

139. On September 17, 2012, Med-X #6142 filled prescription number #7073665 for
Lisinopri120mg, 90 count tablets through pharmacist SAL and charged the patient a cash purchase
price of $lO by cash override as a price match to the WaI-Mart $4 Generics list The U&C Price
listed in the system for the drug Was $20.09.

140. On September 18, 2012, (after the date Walgreen acquired the Defendants), the
government (Medicare Part D by Secure D) was billed an inflated price for the same drug and
quantity as illustrated in the table below. In this example, both the patient and the GHP overpaid.
The patient should have paid the 810 cash price instead of a $12.50 co-pay, resulting in a $2.50
overpayment by the patient The GHP should have paid nothing, making the full $3.98 expended

an overpayment

 

 

 

 

 

 

Store: Med-X #6142 Moore, Lisinopril 20mg (90 Count)

OK
Date: 09/18/12 Patient Co Payrnent: 812.50
Prescription # 7103099 GHP Billed Medicare D
Cash Price: $lO GHP Payment $3.98
Reported U&C $20.09 GHP Overpayment $3.98
Price:

 

 

 

 

 

7 . Levothyroxine
a. 2010
141 . On May 24, 2010, Med-X #6142 filled prescription number #7013190 for Levothyroxine

75 mcg, 30 count tablets through pharmacist AH and charged the patient a cash purchase price of

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$4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C Price listed in the
system for the drug was $14.93.

142. Similarly, on June 2, 2010, the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, the GHP should
have paid the $l .50 difference between the $4 cash price and the $2.50 patient co-pay. The GHP

actually paid $8.41 instead of $1.50, resulting in a $6.91 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Levothyroxine 75mcg (30 count)
OK
Date: 06/02/2010 Patient Co Payrnent: $2.50
Prescn`ption # 7013892 GHP Billed Medicare
Cash Price: $4.00 GHP Payment $8.41
Reported U&C $l4.93 GHP Overpayment $6.91
Price:
b. 2011

143. On November 8, 2011, Med-X #6142 filled prescription number #7040145 for
Levothyroxine 75 mcg, 30 count tablets through pharmacist CP and charged the patient a cash
purchase price of $4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C
Price listed in the system for the drug was $17.88.

144. Also on November 8, 2011, the government (TRICARE) was billed an inflated price for
the same drug and quantity as illustrated in the table below. The GHP should have paid the $0.93
difference between the $4 cash price and the $3.07 patient co-pay. The GHP actually paid $3.67

instead of $0.93, resulting in a $2.74 overpayment

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Levothyroxine 75mcg (30 count)
OK

Date: 11/08/2011 Patient Co Payrnent: $3.07

Prescription # 7069642 GHP Billed TRICARE

Cash Price: $4.00 GHP Payment $3.67

Reported U&C $ l 7.88 GHP Overpayment $2.74

Price:

 

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c. 2012
145. On September 10, 2012, Med-X #6142 filled prescription number #7094558 for

Levothyroxine 75 mcg, 30 count tablets through pharmacist KA and charged the patient a cash
purchase price of $4 by cash override as a price match to the Wal-Mart $4 Generics list The U&C
Price listed in the system for the drug Was $15.19.

146. Also on September 10, 2012, the government (Medicare Part D) was billed an inflated
price for the same drug and quantity as illustrated in the table below. In this example, both the
patient and the GHP overpaid 'l`he patient should have paid the $4 cash price instead of a $6 co-
pay and covered the entire cost of the prescription The patient actually overpaid by $2, and the

GHP in turn overpaid by the full $1.10 expended

 

 

 

 

 

Store: Med-X #6142 Moore, Levothyroxine 75mcg (30 count)
OK
Date: 09/10/2012 Patient Co Payrnent: $6.00
Prescription # 7096287 GHP Billed Medicare (Secure
D)
Cash Price: $4.00 GHP Payment $1.10
Reported U&C $15.19 GHP Overpayment $1.10
Price:

 

 

 

 

 

 

d. 2012 Walgreen 0wnership Example
147. On October 8, 2012, Med-X #6142 filled prescription number #7094558 for

Levothyroxine 75 mcg, 30 count tablets through pharmacy technician ZW and charged the patient
a cash purchase price of $4 by cash override as a price match to the Wal-Mart $4 Generics list
The U&C Price listed in the system for the drug was $16.88.

148. On October 16, 2012, (after the date Walgreens had acquired Defendants), the
government (Medicare Part D by Secure D) was billed an inflated price for the same drug and

quantity as illustrated in the table below. In this example, the GHP should have paid the $2.90

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difference between the $4 cash price and the $1.10 patient co-pay. The GHP actually paid $6

instead of $2.90, resulting in a $3.10 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, Levothyroxine 75mcg (30 count)
OK `
Date: 10/16/2012 Patient Co Payrnent: $l .lO
Prescription # 7076314 GHP Billed Medicare (Secure
D)
Cash Price: $4.00 GHP Payment $6.00
Reported U&C $l6.88 GHP Overpayment $3.10
Price:

 

 

 

 

 

 

8. Cyclobenzaprine
a. 2010

149. On February 3, 2012, Med-X #6142 filled prescription number #7003093 for
Cyclobenzaprine 10 mg, 90 count tablets through pharmacy technician DF and charged the patient
a cash purchase price of 810 by cash override as a price match to the Wal-Mart $4 Generics list
The U&C Price listed in the system for the drug was $105.37.

150. On February 8, 2010, the government (TRICARE) was billed an inflated price for the
same drug and quantity as illustrated in the table below. The GHP should have paid the $7

difference between the $lO cash price and the $3 patient co-pay. The GHP actually paid $16.86

instead of $7, resulting in a $9.86 overpayment

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Cyclobenzaprine 10mg (90 Count)
OK

Date: 02/08/2010 Patient Co Payrnent: $3.00
Prescription # 1102265 GHP Billed TRICARE
Cash Price: $10.00 GHP Payment $l6.86
Reported U&C 3105.37 GHP Overpayment $9.86
Price:

b. 2011

 

151 . On July 1, 201 l, Med-X #6142 filled prescription number #7057198 for Cyclobenzaprine

5 mg, 30 count tablets through pharmacy technician KAC and charged the patient a cash purchase

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price of 84 by cash override as a price match to the Wal-Mart 84 Generics list The U&C Price
listed in the system for the drug Was 855.22.

152. On July 8, 2011, the govemment (Medicare Part D) was billed an inflated price for the
same drug and quantity as illustrated in the table below. ln this example, both the patient and the
GHP overpaid The patient should have been able to cover the full cost of the prescription by
paying the 84 cash price. The patient was instead charged a 85.45 co-pay, resulting in a 81.45

overpayment by the patient The GHP overpaid by 81.50 instead of paying nothing.

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Cyclobenzaprine 5m¢1(30 Count)
Date: 07/08/2011 Patient Co Payrnent: 85.45
Prescription # 705 7808 GHP Billed MEDICARE D
Cash Price: 84 GHP Payment 81.50
Reported U&C 855.22 GHP Overpayment 81 .50
Price:

c. 2012

153. On September 6, 2012, Med-X #6142 filled prescription number #7101926 for
Cyclobenzaprine 10 mg, 90 count tablets through pharmacist CP and charged the patient a cash
purchase price of 810 by cash override as a price match to the Wal-Mart 84 Generics list The
U&C Price listed in the system for the drug was 830.98.

154. Also on September 6, 2012, the government (Medicare Part D) was billed an inflated
price for the same drug and quantity as illustrated in the table below. The GHP should have paid
the 85 difference between the 810 cash price and the 85 patient co-pay. The GHP actually paid

89.27 instead of 85, resulting in a 84.27 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, OK Cyclobenzaprine 10m (90 Count)
Date: 09/06/2012 Patient Co Payrnent: 85.00
Prescription # 7101 876 GHP Billed TRICARE
Cash Price: 810 GHP Payment $9.27
Reported U&C 830.98 GHP Overpayment 84.27

Price:

 

 

 

 

 

 

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d. 2012 post- Walgreen acquisition
155. On October 3, 2012, Med-X #6142 filled prescription number #7104669 for

Cyclobenzaprine 10 mg, 90 count tablets through pharmacist CP and charged the patient a cash
purchase price of 810.09 by cash override as a price match to the Wal-Mart 84 Generics list The
U&C Price listed in the system for the drug was 830.98. Note that the 810.09 price match is a
result of a typographical error; the price match should have been 810 instead of 810.09. The extra
nine cents has no bearing on the following analysis of fraudulent conduct

156. On October 4, 2012, after Walgreen’s acquisition of the Defendants, the government
(TRICARE) was billed an inflated price for the same drug and quantity as illustrated in the table
below. In this example, the GHP should have paid the 85.09 difference between the 810.09 cash
price and the 85 patient co-pay. The GHP actually paid 89.27 instead of 85.09, resulting in a

84.18 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, Cyclobenzaprine 10mg (90 Count)
OK

Date: 10/04/2012 Patient Co Payrnent: 85.00

Prescription # 7104792 GHP Billed TRICARE

Cash Price: 810.09 GHP Payment 89.27

Reported U&C 830.98 GHP Overpayment 84.18

Price:

 

 

 

 

 

 

9. Finasteride - 2012

157. On June 21, 2012, Med-X #6142, Moore, OK filled prescription number #7093974 for
Finasteride 5 mg, 90 count tablets through pharmacy technician SAL and charged the patient a
cash purchase price of810 by cash override as a price match to the Wal-Mart 84 Generics list The
U&C Price listed in the system for the drug was 8264.83.

158. On May 28, 2012, the government (Medicare Part D) was billed an inflated price for the

same drug and quantity as illustrated in the table below. In this example, Medicare Part D should

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have been charged the 84 difference between the 810 cash price and the 86 patient copay.

Medicare Part D actually paid 882.78, resulting in a 878.78 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, Finasteride Smg (90 Count)

OK
Date: 05/28/ 12 Patient Co Payment: 86
Prescription # 7061663 GHP Billed Medicare Part D
Cash Price: 810 GHP Payment 882.78
Reported U&C 8264.83 GHP Overpayment 878.78
Price:

 

 

 

 

 

 

10. Isosorbide Mononitrate - 2011

15 9. On November 15, 201 l, Med-X #6142, Moore, OK filled prescription number #7070388
for Isosorbide Mononitrate 30 mg, 90 count tablets through pharmacy technician AH and charged
the patient a cash purchase price of 810 by cash override as a price match to the Wal-Mart 84
Generics list The U&C Price listed in the system for the drug Was 899.46.

160. On November 8, 2011, the govemment (Medicare Part through Secure D) was billed an
inflated price for the same drug and quantity as illustrated in the table below. ln this example,
Secure D should have been charged the 87.50 difference between the 810 cash price and the 82.50

patient copay. Secure D actually paid 831.01, resulting in a 823.51 overpayment

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Isosorbide Mononitrate 30mg (90 Count)
Date: 11/15/11 Patient Co Payment: 82.50
Prescription # 7069653 GHP Billed Secure D

Cash Price: 810 GHP Payment 831.01

Reported U&C 899.46 GHP Overpayment 823.51

Price:

 

 

11. Paroxetine - 2012

161. On March 9, 2011, Med-X #6142, Moore, OK filled prescription number #7037161 for
Paroxetine 20mg, 90 count tablets through pharmacy technician KAC and charged the patient a
cash purchase price of 8 1 0 by cash override as a price match to the Wal-Mart 84 Generics list The

U&C Price listed in the system for the drug was 8243.87.

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162. On February 22, 2011, the government (Medicare Part D through Secure Horizon Part
D) was billed an inflated price for the same drug and quantity as illustrated in the table below. In
this example, both the patient and the GHP overpaid Secure Horizon Part D should have paid
nothing after the patient copay, and the patient should have paid 810 instead of a 821 copay. Secure

Horizon Part D actually paid 827.39, resulting in a 827.39 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, Paroxetine 20mg (90 Count)
OK

Date: 02/22/2011 Patient Co Payrnent: 821

Prescription # 7044574 GHP Billed Secure Horizon
Part D

Cash Price: 810 GHP Payment 827.39

Reported U&C 8243.87 GHP Overpayment 827.39

Price:

 

 

 

 

 

 

F. High Volume, Low Spread Representative Examples

163. The remaining two representative example sets are included to point out that there are a
number of transactions involving relatively low individual overpayment amounts on high
utilization, high volume drugs. While any one discrete transaction may involve a de minimus
overpayment amount these prescriptions are filled regularly and often. Hundreds or thousands of
small transactions combine to form significant damages when considered in the aggregate

l. Metoprolol Tartrate
a. 2010

164. On July 29, 2010, Med-X #6142, Moore, OK filled prescription number #7019032 for
Metoprol Tar 25mg, 60 count tablets through pharmacist AH and charged the patient a cash
purchase price of 88 by cash ovenide as a price match to the Wal-Mart 84 Generics list The U&C
Price listed in the system for the drug Was 820.55.

165. On August 7, 2010, the government (DHS OK - Oklahoma Medicaid) was billed an

inflated price for the same drug and quantity as illustrated in the table below. ln this example,

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Oklahoma Medicaid should have been offered the 88 cash price. The GHP actually paid 88.34,

resulting in a 80.34 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Metoprol Tar 25mg (60 Count)
Date: 08/07/2010 Patient Co Payrnent: 80.00
Prescription # 7021984 GHP Billed DHS OK
Cash Price: 88.00 GHP Payment 88.34
Reported U&C 820.55 GHP Overpayment 80.34
Price:

b. 2011

166. On January 31, 2011, Med-X #6142 filled prescription number #7035030 for Metoprol
Tar 25mg, 60 count tablets through pharmacist CP and charged the patient a cash purchase price
of 84 by cash override as a price match to the Wal-Mart 84 Generics list The U&C Price listed in
the system for the drug was 820.55.

167. On February 7, 2011, the government (Medicare Part D) was billed an inflated price for
the same drug and quantity as illustrated in the table below. In this example, the GHP should have
been charged the 81.50 difference between the 84 cash price and the 82.50 patient co-pay. The

GHP actually paid 83.04 instead of 81 .50, resulting in a 81.54 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Metoprol Tar 25mg (60 Count)
OK
Date: 02/07/2011 Patient Co Payrnent: 82.50
Prescription # 7042960 GHP Billed Medicare
(Secure D)
Cash Price: 84.00 GHP Payment 83.04
Reported U&C 820.55 GHP Overpayment 81.54
Price:
c. 2012

168. On September 2, 2012, Med-X #6142 filled prescription number #7097730 for Metoprol

Tar 25mg, 60 count tablets through pharmacist SI and charged the patient a cash purchase price of

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84 by cash override as a price match to the Wal-Mart 84 Generics list The U&C Price listed in the
system for the drug was 825.16.

169. On September 5, 2012, the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, the GHP should
have been charged the 82 difference between the 84 cash price and the 82 patient co-pay. The

GHP actually paid 83.10 instead of 82, resulting in a 81 .10 overpayment

 

 

 

 

 

Store: l\/Ied-X #6142 Moore, OK Metoprol Tar 25mg (60 Count)

Date: 09/05/2012 Patient Co Payment: 82.00
Prescription # 7095 809 GHP Billed MEDICARE D
Cash Price: 84.00 GHP Payment 83.10

Reported U&C 825 . l 6 GHP Overpayment 81 .10

Price:

 

 

 

 

 

 

d. 2012 post- Walgreen acquisition

170. On September 27, 2012, after Walgreen’s acquisition of the Defendants, Med-X #6142
filled prescription number #7097730 for Metoprol Tar 25mg, 60 count tablets through pharmacy
technician KAC and charged the patient a cash purchase price of 84 by cash override as a price
match to the Wal-l\/lart 84.05 Generics list The U&C Price listed in the system for the drug was
825 .16.

171. On September 6, 2012, the government (Medicare Part D) was billed an inflated price
for the same drug and quantity as illustrated in the table below. In this example, the GHP should
have been charged the 81.05 difference between the 84.05 cash price and the 83 patient co-pay.

The GHP actually paid 81.50, resulting in a 80.45 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, OK Metoprol Tar 25mg (60 Count)
Date: 10/09/2012 Patient Co Payrnent: 83.00
Prescription # 7096792 GHP Billed Medicare

(Secure D)
Cash Price: 84.05 GHP Payment 81 .50
Reported U&C 825 . l 6 GHP Overpayment 80.45
Price:

 

 

 

 

 

 

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2. Atenolol
a. 2010

172. On March 17, 2010, Med-X #6142 filled prescription number #7002064 for Atenolol 50
mg, 100 count tablets through pharmacy technician KAC and charged the patient a cash purchase
price of 810 by cash override as a price match to the Wal-Mart 84 Generics list The U&C Price
listed in the system for the drug was 896.64.

173. On March 16, 2010, the government (through Medicare D) was billed an inflated price
for the same drug as illustrated by the chart below. In this example, the GHP should have paid
nothing because the patient’s 810 co-pay should have covered the full cost of the prescription The

GHP actually paid 80.34, resulting in a 80.34 overpayment

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Atenolol 50 mg (100 Count)
Date: 03/16/2010 Patient Co Payrnent: 810.00
Prescription # 7011024 GHP Billed Medicare D
Cash Price: 810.00 GHP Payment 80.34
Reported U&C 896.64 GHP Overpayment 80.34
Price:

b. 2011

174. On May 7, 201 l, Med-X #6142 filled prescription number #7051912 for Atenolol 50 mg,
180 count tablets through pharmacist JT and charged the patient a cash purchase price of 820 by
cash override as a price match to the Wal-Mart 84 Generics list The U&C Price listed in the system
for the drug was 8168.37.

175. On June 18, 2011, the government (through TRICARE) was billed an inflated price on
the same drug as illustrated by the chart below. In this example, the GHP should have paid the
811 difference between the 820 actual cash price and the 89 patient co-pay. The GHP actually

paid 816.10 instead of 811, resulting in a 85.10 overpayment

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Store: Med-X #6142 Moore, OK Atenolol 50 mg (180 Count)
Date: 06/18/2011 Patient Co Payrnent: 89.00
Prescription # 7034800 GHP Billed TRICARE
Cash Price: 820.00 GHP Payment 816. 10
Reported U&C 8168.37 GHP Overpayment 85.10
Price:

c. 2012

176. On August 27, 2012, Med-X #6142, Moore, OK filled prescription number #7100827 for
Atenolol 25 mg, 30 count tablets through pharmacy technician LS and charged the patient a cash
purchase price of 84 by cash override as a price match to the Wal-Mart 84 Generics list 'l`he U&C
Price listed in the system for the drug was 89.98.

177. On September 6, 2012, the government (Medicaid of Oklahoma though DHS OK) was
billed an inflated price for the same drug and quantity as illustrated in the table below. In this
example, Oklahoma Medicaid should have been charged the 84 cash price, Oklahoma Medicaid

actually paid 85.52, resulting in a 81 .52 overpayment

 

 

 

 

 

Store: Med-X #6142 Moore, OK Atenolol 50 mg (30 Count)
Date: 09/06/2012 Patient Co Payrnent: 80.00
Prescription # 7081356 GHP Billed DHS OK
Cash Price: 84.00 GHP Payment 85.52
Reported U&C 89.88 GHP Overpayment 81 .52
Price:

 

 

 

 

 

 

d. 2012 post- Walgreen acquisition
178. On October 4, 2012, Med-X #6142 filled prescription number #7087864 for Atenolol 25

mg, 180 count tablets through pharmacist AH and charged the patient a cash purchase price of 820
by cash override as a price match to the Wal-l\/lart 84 Generics list The U&C Price listed in the
system for the drug was 836.98.

179. Also on October 4, 2012, after Wal green acquired the Defendants, the government

(TRICARE) was billed an inflated price for the same drug and quantity as illustrated in the table

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below. In this example, the GHP should have been charged the 85 difference between the 820

cash price and the 815 patient co-pay. The GHP actually paid 814.20 instead of 85, resulting in a

 

 

 

 

 

89.20 overpayment
Store: Med-X #6142 Moore, OK Atenolol 50 mg (180 Count)
Date: 10/04/2012 Patient Co Payrnent: 815.00
Prescription # 70663 89 GHP Billed TRICARE
Cash Price: 820.00 GHP Payment 814.20
Reported U&C 836.98 GHP Overpayment 89.20
Price:

 

 

 

 

 

 

G. Non-Formulary Percentage Discount Representative Examples

180`. As stated above, in addition to manipulating reported U&C prices in transactions
involving prices matched to the WalMart 84 generics list detailed above, USA Drug reported
falsely inflated U&C prices on claims presented for non-forrnulary generics and, in some instances,
brand drugs. Non-forrnulary generic and brand drugs were sold at lower percentage discount cash
prices to uninsured customers, while high U&C prices designed to maximize reimbursement were
reported to GHPs and other third-party payors. The following representative examples illustrate
this practice. None involve drugs on the WalMart 84 generic formulary, and several involve brand
drugs.

1. 2010 Examples

a. Pantoprazole

181. On September 7, 2010, Med-X #6142, Moore, OK filled prescription number #7004119
for Pantoprazole 40mg, 30-count tablets through pharmacist CP and charged the patient a cash
purchase price of 878.67 by cash override. The U&C Price reported to third parties varied One
reported U&C was 8136.74, as demonstrated by prescription number #7027794 filled September
10, 2010 and billed to GHP TriCare. Based on USA Drug's reported fraudulent, inflated U&C

price, under the Tricare reimbursement methodology the patient copay was 822.00 and Tricare

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paid 868.47. The GHP damages calculation for the September 10 transaction is as follows: [868.47
TriCare payment - 856.67 government amount payable (determined by 878.67 cash price - 822
copay) = 811.80 GHP Overpayment amount]. The government overpaid by 811.80 on this

prescription based on the falsely inflated U&C price reported by USA Drug.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Pantoprazole 40mg 30 count
OK
Date: 09/07/ 10 Patient Co 822.00
. Payments:
Prescription # 7004119 GHP Billed DHS
Cash Price: 878.67 GHP Payments 868.47
Reported U&C Price: 8136.74 GHP Overpayments 811.80

 

 

b. Propranolol

182. On August 27, 2010, Med-X #6142, Moore, OK filled prescription number #1097273 for
Propranolol 80 mg, 90-count tablets through pharmacy tech DF and charged the patient a cash
purchase price of 825.46 by cash override. The U&C Price reported to third parties was 8159.54,
as demonstrated by prescription number #7006973 filled August 4, 2010 and billed to GHP CCRX,
a Part D plan Based on USA Drug's reported fraudulent, inflated U&C price, under the CCRX
reimbursement methodology the patient copay was 81.10 and CCRX paid 8103.06. The GHP
damages calculation is as follows: [8103.06 CCRX payment - 824.36 true government amount
payable (825.46 cash price - 81.10 copay) = 878.70 GHP Overpayment amount]. The GHP
overpaid by 878.70 on this prescription based on the falsely inflated U&C price reported by USA

Drug, instead of paying 824.36 after the patient’s 81 .10 copay was applied to a 825.46 cash price.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Propranolol ER 80 mg 90 count
OK
Date: 08/04/10 Patient Co 81 .10
Payment:
Prescription # 1097273 GHP Billed CCRX
Cash Price: 825.46 GHP Payment 8103 .06
Reported U&C Price: 8159.54 GHP Overpayment 878.70

 

 

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c. Cefdinir

183. On July 9, 2010, Med-X #6142, Moore, OK filled prescription number #7022255 for
Cefdinir 250/5ml, 60-count through pharmacy tech RL and charged the patient a cash purchase
price of 825.79 by cash override. The U&C Price reported to third parties was 8113.35, as
demonstrated by prescription number #7023 682 filled July 26, 2010 and billed to GHP OK DHS
(OK Medicaid). Based on USA Drug's reported fraudulent, inflated U&C price, under the OK
DHS reimbursement methodology the patient copay was 8 and OK DHS paid 842.89. The GHP
damages calculation is as follows: [842.89 OK DHS payment - 825.79 cash price = 817.10 GHP
Overpayment amount]. The GHP overpaid by 817.10 on this prescription based on the falsely
inflated U&C price reported by USA Drug, paying 842.89 instead of the 825.79 cash price offered

to customers without insurance or benefit

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Cefdinir Sus 250/5ml 60 count
OK
Date: 07/09/ 10 Patient Co 80.00
Payment:
Prescription #: 7022255 GHP Billed OK DHS
Cash Price: 825.79 GHP Payment 842.89
Reported U&C Price: 8113.35 GHP Overpayment 817.10

 

2. 2011 Examples

a. Zolpidem
184. On August 12, 2011, Med-X #6142, Moore, OK filled prescription number #4020090

for Zolpidem Tart ER 12.5mg, 30-count tablets through pharmacy tech KAC and charged the
patient a cash purchase price of 8104.80 by cash override. 'l`he U&C Price reported to third parties
was 8189.49, as demonstrated by prescription number #4019728 filled August 2, 2011 and billed
to GHP Oklahoma DHS. Based on USA Drug's reported fraudulent, inflated U&C price, under

the OK DHS reimbursement methodology the patient copay was zero and OK DHS paid

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8119.02.The GHP damages calculation is as follows: [8119.02 DHS payment - 8104.80 cash price
= 814.22 GHP Overpayment amount]. The government overpaid by 814.22 on this prescription

based on the falsely inflated U&C price reported by USA Drug.

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Zolpidem Tart ER 12.5mg 30
OK count
Date: 8/12/11 Patient Co 80
Payrnent:
Prescription # 4020090 GHP Billed DHS
Cash Price: 8104.80 GHP Payment 8119.02
Reported U&C Price: 8189.49 GHP Overpayment 814.22
b. Tizanidine

185. On April 4, 2011, Med-X #6142, Moore, OK filled prescription number #7018911 for
Tizanidine 4mg, 60-count tablets through pharmacy tech DF and charged the patient a cash
purchase price of 810 by cash override. The U&C Price reported to third parties was 8101.91, as
demonstrated by prescription number #7038797 filled April 12, 2011 and billed to GHP Humana
Part D. Based on USA Drug's reported fraudulent, inflated U&C price, under the Humana Part D
reimbursement methodology the patient copay was 87 and Humana Part D paid 815.3. The GHP
damages calculation is as follows: [815.03 DHS payment - 83.00 (810 cash price - 87 copay) =
812.03 GHP Overpayment amount]. The GHP overpaid by 812.03 on this prescription based on
the falsely inflated U&C price reported by USA Drug, instead of paying 83 after the patient’s 87

copay was applied to a 810 cash price.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Tizanidine 4mg 60 count
OK
Date: 4/4/1 1 Patient Co 87.00
Payrnent:
Prescription # 701891 1 GHP Billed Humana D
Cash Price: 810 GHP Payment 815.03
Reported U&C Price: 8101 .91 GHP Overpayment 812.03

 

 

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c. Tamsulosin

186. On August 26, 2011, Med-X #6142, Moore, OK filled prescription number #7062250 for
Tamsulosin 0.4mg, 30-count tablets through pharmacy tech KAC and charged the patient a cash
purchase price of 827.95 by cash override. 'l`he U&C Price reported to third parties was 8140.55,
as demonstrated by prescription number #7052668 filled August 15, 2011 and billed to GHP
Medprime, a Part D plan Based on USA Drug's reported fraudulent, inflated U&C price, under
the Medprime reimbursement methodology the patient copay Was 830 and Medprime paid 8 76.30.
The GHP damages calculation is as follows: [876.30 Medprime payment - (80 true government
amount due after applying patient copay) = 876.30 GHP Overpayment amount]. The GHP
overpaid by 876.03 on this prescription based on the falsely inflated U&C price reported by USA
Drug, and the patient with government coverage overpaid by 82.05 (830 copay - 827.95 cash price)

compared to a cash-paying customer without insurance.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Tamsulosin 0.4mg 30 count
OK
Date: 08/26/1 l Patient Co 830.00
Payrnent:
Prescription # 7062550 GHP Billed Medprime
Cash Price: 827.95 GHP Payment 876.30
Reported U&C Price: 8140.55 GHP Overpayment 876.30

 

 

d. Bupropn HCL
187. On February 10, 2011, Med-X #6142, Moore, OK filled prescription number #7034347

for Bupropn HCL 300mg, 30-count tablets through pharmacy tech NM and charged the patient a
cash purchase price of 862.29 by cash override. The U&C Price reported to third parties was
8157.04, as demonstrated by prescription number #7032443 filled February 5, 2011 and billed to
GHP Humana Part D. Based on USA Drug's reported fraudulent, inflated U&C price, under the

Humana Part D reimbursement methodology the patient copay was 837 and Humana Part D paid

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842.85. The GHP damages calculation is as follows: [842.85 Humana D payment - 825.29 true

government amount payable (862.29 cash price - 837.00 copay) = 817.56 GHP Overpayment

amount]. The GHP overpaid by 817.56 on this prescription based on the falsely inflated U&C price

reported by USA Drug, paying 842.85 instead of 825.29

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Bupropn HCL 300mg XL 30
OK count
Date: 02/10/1 l Patient Co 83 7.00
Payrnent:
Prescription # 7034247 GHP Billed Humana D
Cash Price: 862.29 GHP Payment 842.85
Reported U&C Price: 8157.04 GHP Overpayment 817.5 6

 

 

 

e. Metoprolol Succ

188. On February 7, 2011, Med-X #6142, Moore, OK filled prescription number #7028525

for Metoprolol Succ 25mg, 30-count tablets through pharmacy tech DF and charged the patient a

cash purchase price of 819.89 by cash override. The U&C Price reported to third parties was

837.61, as demonstrated by prescription number #7039382 filled February 4, 2011 and billed to

GHP Secure D. Based on USA Drug's reported fraudulent, inflated U&C price, under the Secure

D reimbursement methodology the patient copay was 85 and Secure D paid 819.89. The GHP

damages calculation is as follows: [821.16 Secure D payment - 814.89 true government amount

payable (819.89 cash price - 85 copay) = 86.27 GHP Overpayment amount]. The GHP overpaid

by 86.27 on this prescription based on the falsely inflated U&C price reported by USA Drug,

paying 821.16 instead of 814.89 (819.89 cash price - 85 copay).

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Metoprolol Succ 25mg ER 30 count
Date: 02/07/11 Patient Co Payrnent: 85.00
Prescription # 7028525 GHP Billed Secure D
Cash Price: 819.89 GHP Payment 821.16
Reported U&C 83 7.61 GHP Overpayment 86.27

Price:

 

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f Morphine Sul

189. On July 15, 2011, Med-X #6142, Moore, OK filled prescription number #2006714 for
Morphone Sul lOOmg, 60-count tablets through pharmacy tech KAC and charged the patient a
cash purchase price of 856.17 by cash override. The U&C Price reported to third parties was
8300.39, as demonstrated by prescription number #2006611 filled July 8, 2011 and billed to GHP
Secure D. Based on USA Drug's reported fraudulent, inflated U&C price, under the Secure D
reimbursement methodology the patient copay was 810.13 and Secure D paid 857.37. The GHP
damages calculation is as follows: [857.37 Secure D payment - 846.04 true government amount
payable (856.17 cash price - 810.13 copay) = 811.33 GHP Overpayment amount]. The GHP
overpaid by 811.33 on this prescription based on the falsely inflated U&C price reported by USA

Drug, paying 857.37 instead of 846.04.

 

 

 

 

 

Store: Med-X #6142 Moore, OK Morphine Sul 100mg ER 60 count
Date: 07/15/1 1 Patient Co Payrnent: 810.13
Prescription # 2006714 GHP Billed Secure D
Cash Price: 856.17 GHP Payment 857.37
Reported U&C 8300.39 GHP Overpayment 81 l.33
Price:

 

 

 

 

 

 

3. 2012 Examples
a. Clopidogrel

190. On September 23, 2012, Med-X #6142, Moore, OK filled prescription number #7103491
for Clopidogrel 75mg, 30-count tablets through tech KAC and charged the patient a cash purchase
price of 81 5.00 by cash override. The reported U&C was 8186.59, as demonstrated by prescription
number #7093705 filled September 19, 2012 and billed to GHP Medicare D 004336. Based on
USA Drug's reported fraudulent, inflated U&C price, under the Secure D reimbursement
methodology the patient copay was 873.99 and Secure D paid 812.04. The GHP damages

calculation is as follows: [812.04 Medicare D payment copay - 80 owed after applying copay =

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812.04 GHP Overpayment amount]. The government overpaid by 812.04 on this prescription
based on the falsely inflated U&C price reported by USA Drug; the government should have paid
nothing after the patient covered the 815 cash price. Even more egregious is the harm to the
patient A patient with government coverage paid a 873.99 copay, while a cash~paying customer

without insurance paid 815.00. The patient copay was thus inflated by 858.99 (873.99 copay - 815

 

 

 

 

 

cash price).

Store: Med-X #6142 Moore, OK Clopidogrel 75mg 30 count

Date: 09/23/ 12 Patient Co 873.99
Payments:

Prescription # 7103491 GHP Billed Medicare D

004336

Cash Price: 815.00 GHP Payment 812.04

Reported U&C Price: 8186.59 GHP Overpayment 812.04
Patient
Overpayment 858.99

 

 

 

 

 

 

b. Diazepam

191. On October l, 2012, Med-X #6142, Moore, OK filled prescription number #4032916 for
Diazepam lOmg, 100-count tablets through pharmacy tech LB and charged the patient a cash
purchase price of 813.39 by cash override A contemporaneous prescription was filled for 90-count
Diazepam, so the adjusted price after conversion is 812.05 (813.39 x .90). The U&C Price reported
to third parties was 837.23, as demonstrated by prescription number #4031079 filled October 2,
2012 and billed to GHP DHS OK. Based on USA Drug's reported fraudulent, inflated U&C price,
under the DHS OK reimbursement methodology the patient copay was 81.20 and DHS OK paid
816.94. The GHP damages calculation is as follows: [816.94 DHS payment - 810.85 true
government amount payable (812.05 cash price - 81 .20 copay) = 86.09 GHP Overpayment

amount]. The GHP overpaid by 86.09 on this prescription based on the falsely inflated U&C price

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reported by USA Drug, paying 816.94 instead of paying 810.85 after the patient’s 81.20 copay

was applied to a 812.05 cash price,

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Diazepam 10mg 90 count
Date: 10/01/12 Patient Co 81 .20
Payrnent:
Prescription # 4032916 GHP Billed DHS OK
Cash Price: 812.05 (adjusted) GHP Payment 816.94
Reported U&C Price: 837.23 GHP Overpayment 86.09
c. Gabapentin

192-. On September 28, 2012, Med-X #6142, Moore, OK filled prescription number #7104168
for Gabapentin 800mg, 90-count tablets through pharmacy tech KAC and charged the patient a
cash purchase price of 853.06 by cash override. The reported U&C price was 8163.19, as
demonstrated by prescription number #7097032 filled September 17, 2012 and billed to GHP
Medicare D 004336. Based on USA Drug's reported fraudulent, inflated U&C price, under the
Medicare D 004336 reimbursement methodology the patient copay was 81.10 and Medicare D
004336 paid 889.27. The GHP damages calculation is as follows: [889.27 Medicare D 004336
payment - (853.06 cash price - 81.10 copay) = 837.31 GHP Overpayment amount]. The GHP
overpaid by 837.31 on this prescription based on the falsely inflated U&C price reported by USA

Drug, paying 889.27 instead of 85 l .96 after the patient’s 81 .10 copay was applied to a 853.06 cash

 

 

 

 

 

 

 

 

 

price,
Store: Med-X #6142 Moore, Gabapentin 800mg 90 count
OK
Date: 09/28/ 12 Patient Co 81.10
Payment:

Prescription # 7104168 GHP Billed Medicare D
004336

Cash Price: 853.06 GHP Payment 889.27

Reported U&C Price: 8163.19 GHP Overpayment 837.31

 

 

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H. Brand Drug Representative Examples
1. Qualaquin

193. On July 13, 2010, Med-X #6142, Moore, OK filled prescription number #7015385 for
Qualaquin 324mg, 30-count tablets through pharmacy tech AH and charged the patient a cash
purchase price of 8168.99 by cash override. The U&C Price reported to third parties was 8212.35,
as demonstrated by prescription number #7002565 filled July 23, 2010 and billed to GHP TriCare.
Based on USA Drug's reported fraudulent, inflated U&C price, under the Tricare reimbursement
methodology the patient copay was 89 and Tricare paid 8162.70. The GHP damages calculation
is as follows: [8162.70 TriCare payment - (8168.99 cash price - 89 copay) = 82.71 GHP
Overpayment amount]. The government overpaid by 82.71 on this brand prescription based on

the falsely inflated U&C price reported by USA Drug.

 

 

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Qualaquin 324 mg 30 count (BRAND
OK DRUG)
Date: 07/03/ 10 Patient Co Payrnent: 89.00
Prescription # 7015385 GHP Billed Tri Care
Cash Price: 8168.99 GHP Payment 8162.70
Reported U&C 8212.35 GHP Overpayment 82.71
Price:
2. Enablex

194. On May 6, 2011, Med-X #6142, Moore, OK filled prescription number #7042216 for
Enablex 7.5mg, 30-count tablets through tech DF and charged the patient a cash purchase price of
8147.89 by cash override. The reported U&C was 8178.21, as demonstrated by prescription
number #7037642 filled May 2, 2011 and billed to GHP CCRX. Based on USA Drug's reported
fraudulent, inflated U&C price, under the CCRZ reimbursement methodology the patient copay
was 83,30 and CCRX paid 8146.60. The GHP damages calculation is as follows: [8146.60 CCRX

payment - (8147.89 cash price - 83.30 copay) = 82.01 GHP Overpayment amount]. The

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government overpaid by 82.01 on this prescription based on the falsely inflated U&C price

reported by USA Drug; the government should have paid 8144.59 instead of 146.60 after applying

a 83.30 copay to the 8147.89 cash price.

 

 

 

 

 

 

Store: Med-X #6142 Moore, Enablex 7.5mg 30 count (BRAND DRUG)
OK

Date: 05/06/11 Patient Co Payrnent: 83.30

Prescription # 7042216 GHP Billed CCRX

Cash Price: 8147.89 GHP Payment 8146.60

Reported U&C 8178.21 GHP Overpayment 82.01

Price:

 

 

 

 

 

3. Lantus Insulin

195. On March 26, 2011, Med-X #6142, Moore, OK filled prescription number #7039267 for
Lantus Insulin, lO-count through pharmacy tech LS and charged the patient a cash purchase price
of 8107.85 by cash ovenide. The U&C Price reported to third parties was 8128.34, as demonstrated
by prescription number #7017801 filled March 31, 2011 and billed to GHP DHS OK. Based on
USA Drug's reported fraudulent, inflated U&C price, under the DHS OK reimbursement
methodology the patient copay was zero and DHS paid 8108.93. The GHP damages calculation
is as follows: [8108.93 DHS payment - 8107.85 cash price = 81.08 GHP Overpayment amount].
There was no patient copay. The GHP overpaid by 81 .08 on this prescription based on the falsely

inflated U&C price reported by USA Drug.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, OK Lantus Insulin 10 count (BRAND
DRUG)

Date: 03/26/1 l Patient Co 80.00
Payments:

Prescription # 7039267 GHP Billed OK DHS

Cash Price: 8107.85 GHP Payment 8108.93

Reported U&C Price: 8128.34 GHP Overpayment 81.08

 

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4. Levemir Flex Pen

196. On February 21 , 2011, Med-X #6142, Moore, OK filled prescription number
#7033901for Levemir F lex Pen, 15-count through pharmacist CP and charged the patient a cash
purchase price of 8 l 95.59 by cash override. The reported U&C price was 8247.36, as demonstrated
by prescription number #7026298 filled February 15, 2011 and billed to GHP PERX. Based on
USA Drug's reported fraudulent, inflated U&C price, under the PERX reimbursement
methodology the patient copay was 820 and PERX paid 8182.16. The GHP damages calculation
is as follows: [8182.16 PERX payment _ (8195.59 cash price - 820.00 copay) = 86.57 GHP
Overpayment amount]. The GHP overpaid by 86.57 on this prescription based on the falsely
inflated U&C price reported by USA Drug, paying 8182.16 instead of 8175.59 after the patient’s

820.00 copay was applied to a 8195.59 cash price.

 

 

 

 

 

 

 

 

 

Store: Med-X #6142 Moore, Levemir Flex Pen 15 count (BRAND
OK DRUG)

Date: 02/21/11 Patient Co Payment: 820.00

Prescription # 7033901 GHP Billed PERX

Cash Price: 8195.59 GHP Payment 8182.16

Reported U&C Price: 8247.36 GHP Overpayment 86.57

 

 

vn.
COUNT 0NE - FCA §3729(a)(1)(A)

197. Plaintiffs reallege and incorporate by reference the allegations contained in Paragraphs l
through 196 of this complaint

198. This is a claim for treble damages, civil penalties and attorney’s fees, under the Federal
False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended

199. By means of the acts described above, Defendants have knowingly presented or caused

to be presented false or fraudulent claims for payment to the United States. The United States,

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unaware of the falsity of the claims, paid Defendants for claims that would otherwise not have
been allowed

200. By reason of these payments, the United States has been damaged, and continues to be
damaged, in a substantial amount

VIII.
COUNT TWO - FCA §3729(a)(1)(B)

201. Plaintiffs reallege and incorporate by reference the allegations contained in Paragraphs 1
through 200 of this complaint

202. This is a claim for treble damages, civil penalties and attorney’s fees, under the Federal
False Claims Act, 31 U.S.C. §§ 3729, et seq. as amended

203. By means of the acts described above, Defendants have knowingly made, used, or caused
to be made or used, false records and statements to get false or fraudulent claims paid by the United
States. The United States, unaware of the falsity of the records and statements, paid Defendants
for claims that would otherwise not have been allowed

204. By reason of these payments, the United States has been damaged, and continues to be
damaged, in a substantial amount

IX.
COUNT THREE - VIOLATIONS OF STATE LAWS

205. Relator re-alleges the allegations made in paragraphs l through 204 of this complaint

206. Defendants’ actions, as alleged in this complaint constitute violations of the analogous
false claims acts and health care fraud remedial statutes of each of the Plaintiff States, to the
substantial damage of the Medicaid programs of each Plaintiff State.

207. By reason of these payments, the Plaintiff States have been damaged, and continue to be

damaged, in a substantial amount

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X.
JURY DEMAND

208. Plaintiffs demand a trial by jury.

Wheref`ore, the Relator prays (a) that the United States recover from the Defendants, three
times the amount of its damages, together with the maximum civil penalty for each violation of
the federal False Claims Act committed by the Defendants; (b) that each Plaintiff State recover
from the Defendants all damages, multiples of damages, civil penalties, and other civil remedies
recoverable by reason of` each violation of that state’s laws; and (c) that the Relator be awarded by
the United States and the Plaintiff States, as his share of the proceeds of this action, the maximum
relator’s share permitted by the federal False Claims Act and the analogous statutes of each
Plaintiff State, and that he recover from the Defendants his reasonable attomeys’ fees, expenses,
costs, and all other civil remedies provided by the federal False Claims Act and the analogous
statutes of each Plaintiff State,

Re pectfully Submitted:

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Attorneys for Relator
CERTIFICATE OF SERVICE
The undersigned certifies that on , 2016, a copy of the foregoing First Amended

Complaint and the required disclosure statement was served on each of the following persons by
the method of service indicated:

Hon. Loretta Lynch Via USPS Certified
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